Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 1 of 113




               EXHIBIT 1
             Case 4:19-cv-07123-PJH         Document 422-2        Filed 10/11/24   Page 2 of 113
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3385
     JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                              Page 1
                                                                                                   Page 1
·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · ·OAKLAND DIVISION

·4
· · ·WHATSAPP INC., a Delaware· · )
·5· ·corporation, and FACEBOOK,· ·)
· · ·INC., a Delaware corporation,)
·6· · · · · · · · · · · · · · · · )
· · · · · · · ·Plaintiffs,· · · · )
·7· · · · · · · · · · · · · · · · )
· · · · · vs.· · · · · · · · · · ·)· Case No.
·8· · · · · · · · · · · · · · · · )· 4:19-cv-07123-PJH
· · ·NSO GROUP TECHNOLOGIES· · · ·)
·9· ·LIMITED and Q CYBER· · · · · )
· · ·TECHNOLOGIES LIMITED,· · · · )
10· · · · · · · · · · · · · · · · )
· · · · · · · ·Defendants.· · · · )
11· ·__________________________· ·)

12

13

14

15· · · · ·HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY

16· · · VIDEOTAPED 30(B)(6) DEPOSITION OF JONATHAN LEE

17· · · · · · · · ·LOS ANGELES, CALIFORNIA

18· · · · · · · WEDNESDAY, SEPTEMBER 25, 2024

19

20

21

22

23

24· ·SWIVEL LEGAL SOLUTIONS
· · ·JOB NO.: 3385
25· ·DORIEN SAITO, CSR 12568, CLR
        Case 4:19-cv-07123-PJH            Document 422-2            Filed 10/11/24      Page 3 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                      Job 3385
JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                     Pages· 170..173
                                                  Page 170                                                     Page 171
·1· ·BY MR. AKROTIRIANAKIS:                                  ·1· ·but there's a category of messages that we consider
·2· · · ·Q.· ·Is there a way to get out of the default?      ·2· ·to be messages with a business.· And the message
·3· · · · · · MR. BLOCK:· Objection to form.· Foundation.    ·3· ·with a business are often powered by -- by Meta
·4· · · · · · THE WITNESS:· So all personal messages on      ·4· ·technologies that the business uses, and those
·5· ·WhatsApp are end-to-end encrypted.                      ·5· ·messages we don't call end-to-end encrypted, but
·6· ·BY MR. AKROTIRIANAKIS:                                  ·6· ·there isn't a user setting involved.
·7· · · ·Q.· ·In other words, if a user wanted to make       ·7· · · ·Q.· ·And I'm sorry.· You said that you didn't
·8· ·them unencrypted, there would be no way to do that?     ·8· ·think that the business messages existed in 2019?
·9· · · · · · MR. BLOCK:· Objection to form.                 ·9· · · · · · MR. BLOCK:· Objection to form.
10· · · · · · THE WITNESS:· There's no toggle or setting     10· · · · · · THE WITNESS:· I don't recall the -- the
11· ·that a user would use to -- that would affect the       11· ·status of our business messaging tools at that
12· ·encryption status of their message.                     12· ·particular time.
13· ·BY MR. AKROTIRIANAKIS:                                  13· ·BY MR. AKROTIRIANAKIS:
14· · · ·Q.· ·The messages would be encrypted, like it or    14· · · ·Q.· ·How familiar are you with the technical
15· ·not, right.                                             15· ·workings of -- of WhatsApp?
16· · · · · · MR. BLOCK:· Objection to form.                 16· · · ·A.· ·I have a general understanding of how
17· · · · · · THE WITNESS:· All personal messages are        17· ·WhatsApp works.· My background is not a technical
18· ·end-to-end encrypted.· There's no user strategy that    18· ·background, so the technical nature of how things
19· ·affects the encryption status.                          19· ·operate, I don't have a level of, say, an engineer.
20· ·BY MR. AKROTIRIANAKIS:                                  20· · · ·Q.· ·Okay.
21· · · ·Q.· ·And you are say "all personal messages."       21· · · · · · MR. AKROTIRIANAKIS:· So I think we should
22· · · · · · Is there a different kind of message where     22· ·consider this now part of the 30(b)(6).
23· ·there is a setting you can do or undo?                  23· ·BY MR. AKROTIRIANAKIS:
24· · · ·A.· ·There's not a -- a setting.· They're -- and    24· · · ·Q.· ·The process by which someone would register
25· ·I don't recall whether these existed at the time,       25· ·a WhatsApp account begins with downloading the
                                                  Page 172                                                     Page 173
·1· ·WhatsApp app; correct?                                  ·1· ·downloading.
·2· · · · · · MR. BLOCK:· That question exceeds the scope    ·2· ·BY MR. AKROTIRIANAKIS:
·3· ·of the 30(b)(6), but overlaps with it.                  ·3· · · ·Q.· ·Okay.· Do you know what a decompiler is?
·4· · · · · · THE WITNESS:· So answer with respect to        ·4· · · · · · MR. BLOCK:· Objection to scope.
·5· ·what I know about how this worked between 2018 and      ·5· · · · · · THE WITNESS:· I'm familiar with the term,
·6· ·2020?                                                   ·6· ·but I don't understand how it operates at a
·7· · · · · · In short, to register for WhatsApp, a user     ·7· ·technical level.
·8· ·would download the app, and --                          ·8· ·BY MR. AKROTIRIANAKIS:
·9· ·BY MR. AKROTIRIANAKIS:                                  ·9· · · ·Q.· ·Sure.
10· · · ·Q.· ·And that could be from the WhatsApp website    10· · · · · · Do you know whether someone could use a
11· ·at the time, or was it only from the Play Store and     11· ·decompiler on the app as downloaded from the app
12· ·the app store?                                          12· ·store without first registering for a WhatsApp
13· · · · · · MR. BLOCK:· Objection to form.                 13· ·account?
14· · · · · · THE WITNESS:· The -- and it's from the app     14· · · · · · MR. BLOCK:· Objection to foundation and
15· ·store.· We have an app store.· This is based off the    15· ·scope.
16· ·requirements of the particular operating system in      16· · · · · · You can answer in your personal capacity,
17· ·the app store that they provide.                        17· ·if you have knowledge.
18· ·BY MR. AKROTIRIANAKIS:                                  18· · · · · · THE WITNESS:· I don't know how registering
19· · · ·Q.· ·Okay.· And someone could download the app      19· ·or not registering could affect how someone using a
20· ·from the app store without subsequently registering     20· ·decompiler work.
21· ·for an account; correct?                                21· ·BY MR. AKROTIRIANAKIS:
22· · · · · · MR. BLOCK:· Objection to form.· And scope.     22· · · ·Q.· ·Okay.· Or if somebody could use a
23· · · · · · THE WITNESS:· Yes.· The first step of          23· ·decompiler prior to registering?
24· ·creating a WhatsApp account would be to download the    24· · · · · · MR. BLOCK:· The same objections.
25· ·app, when a user could choose not to proceed after      25· · · · · · THE WITNESS:· Again, I don't really know



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                                YVer1f
        Case 4:19-cv-07123-PJH            Document 422-2            Filed 10/11/24      Page 4 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                      Job 3385
JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                     Pages· 174..177
                                                  Page 174                                                     Page 175
·1· ·how did decompiler work, so I also don't know how it    ·1· · · ·Q.· ·Right.
·2· ·would work prior to registration.                       ·2· · · · · · But you're not testifying from your memory
·3· ·BY MR. AKROTIRIANAKIS:                                  ·3· ·from the time when you registered a WhatsApp
·4· · · ·Q.· ·Okay.· So you download the app.· Then          ·4· ·account; am I; right?
·5· ·what's the next step if you wanted to register for      ·5· · · ·A.· ·Correct.· As we discussed earlier, I spoke
·6· ·an WhatsApp account?                                    ·6· ·with two internal experts about the process to do
·7· · · · · · MR. BLOCK:· Objection to scope.                ·7· ·this.
·8· · · · · · THE WITNESS:· You would download the app.      ·8· · · ·Q.· ·And those are the steps that they explained
·9· ·You would open the app, and you'd be shown a welcome    ·9· ·to you?
10· ·screen.· The welcome screen includes links to the       10· · · ·A.· ·They are.
11· ·term of service and the privacy policy.· The user is    11· · · ·Q.· ·Okay.· So at what point do you -- after
12· ·then given the opportunity to agree to the terms of     12· ·downloading the app and before or during the process
13· ·services and continue with the registration flow.       13· ·that you have now described would you, for example,
14· · · · · · If the user chooses to agree to the terms      14· ·select a language?
15· ·of service and continue, they're given the              15· · · · · · MR. BLOCK:· Objection to form and scope.
16· ·opportunity to enter their phone number that they'll    16· · · · · · THE WITNESS:· I don't know specifically
17· ·be associating with the WhatsApp account.· There's a    17· ·when that happens.· My recollection from the
18· ·verification process for that phone number, most        18· ·conversations that I had yesterday were that the app
19· ·commonly done by an SMS message sent to that phone      19· ·looks to the language settings of the phone in order
20· ·number, after which the account is created, if the      20· ·to surface the -- the language -- the relevant
21· ·verification is successful.                             21· ·language.
22· ·BY MR. AKROTIRIANAKIS:                                  22· ·BY MR. AKROTIRIANAKIS:
23· · · ·Q.· ·Have you done this yourself?                   23· · · ·Q.· ·So is your testimony on behalf of WhatsApp
24· · · ·A.· ·I use WhatsApp, and in order to use            24· ·and Facebook that you don't have to select a
25· ·WhatsApp, I had to register my account.                 25· ·language?· It selects it for you?
                                                  Page 176                                                     Page 177
·1· · · · · · MR. BLOCK:· Objection to form.· And this is    ·1· ·testify?
·2· ·outside the scope of the topic.                         ·2· · · ·A.· ·In my preparations for this, on this issue,
·3· · · · · · But you can answer in personal capacity.       ·3· ·these were described to me verbally.
·4· · · · · · Hang on one second.                            ·4· · · ·Q.· ·Okay.· So some person just told you, and
·5· · · · · · Sorry for the -- I think I objected on form    ·5· ·now you're doing your best to parrot what you were
·6· ·and scope.                                              ·6· ·told yesterday?
·7· · · · · · And if you have knowledge in your personal     ·7· · · · · · MR. BLOCK:· Objection to form.
·8· ·capacity, you can answer.                               ·8· · · · · · THE WITNESS:· As part of the preparations I
·9· · · · · · THE WITNESS:· I don't know whether or not a    ·9· ·spoke with two people, one of whom is the product
10· ·user has the opportunity to select their language in    10· ·manager who leads this particular set of product
11· ·WhatsApp is part of their registration flow.            11· ·experiences for WhatsApp.· He described them to me,
12· ·BY MR. AKROTIRIANAKIS:                                  12· ·and I am describing them to the best of my
13· · · ·Q.· ·Now earlier, when you testified about the      13· ·recollection based on my preparation.
14· ·explanations you were given yesterday -- well, let      14· ·BY MR. AKROTIRIANAKIS:
15· ·me back up.                                             15· · · ·Q.· ·All right.· Is there any, like, depiction
16· · · · · · The explanations that you were given           16· ·of the terms and service in any of the screens that
17· ·yesterday, is that the sole basis for your -- your      17· ·you have to go through in order to register a
18· ·ability to testify today as to the process by which     18· ·WhatsApp account?
19· ·users in Israel could accept terms of service in        19· · · · · · MR. BLOCK:· Foundation.· Scope.
20· ·2018, 2019, 2020?                                       20· · · · · · You can answer, if you know.
21· · · ·A.· ·In my capacity answering these questions,      21· · · · · · THE WITNESS:· The terms of service are
22· ·yes.                                                    22· ·presented -- are presented by a link -- a hyperlink
23· · · ·Q.· ·Okay.· And do you recall, you know, did you    23· ·which a user could choose to click through in order
24· ·review any, like, progression of screens or anything    24· ·to read the terms of service.
25· ·like that during your -- during your preparation to     25· ·///



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                                YVer1f
        Case 4:19-cv-07123-PJH            Document 422-2            Filed 10/11/24       Page 5 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                      Job 3385
JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                     Pages· 178..181
                                                  Page 178                                                     Page 179
·1· ·BY MR. AKROTIRIANAKIS:                                  ·1· ·WhatsApp.
·2· · · ·Q.· ·And not to click through.                      ·2· ·BY MR. AKROTIRIANAKIS:
·3· · · · · · MR. BLOCK:· And sorry.· I had misunderstand    ·3· · · ·Q.· ·Yeah.· Hundreds, probably.· At least
·4· ·the previous question.· I think it was fairly in        ·4· ·dozens?
·5· ·scope.                                                  ·5· · · ·A.· ·I have used a number of apps that are not
·6· · · · · · THE WITNESS:· It's not a requirement that a    ·6· ·WhatsApp.
·7· ·user click through the terms of service in order to     ·7· · · ·Q.· ·And you know that in some cases, the
·8· ·decide whether or not to accept and continue.           ·8· ·click -- the clickwrap accepting of terms of service
·9· ·BY MR. AKROTIRIANAKIS:                                  ·9· ·requires you to scroll through the terms of service,
10· · · ·Q.· ·And there's no separate box to check "I        10· ·and at least pretend you're reading it; right?
11· ·accept terms of service."                               11· · · · · · MR. BLOCK:· Foundation.· Scope.· Calls for
12· · · · · · Correct?                                       12· ·a legal conclusion.
13· · · · · · MR. BLOCK:· Objection to form.                 13· · · · · · THE WITNESS:· In my experience using other
14· · · · · · THE WITNESS:· I believe the box is             14· ·apps, I have experienced apps or other online
15· ·accept --                                               15· ·services where I have, as part of the registration
16· · · · · · MR. CRAIG:· (Sneezing.)                        16· ·flow or the flow to access the app, been required to
17· ·BY MR. AKROTIRIANAKIS:                                  17· ·scroll through a document before it enabled me to
18· · · ·Q.· ·But you think there's a box?                   18· ·click "accept."
19· · · ·A.· ·That is what I recall from my preparation.     19· ·BY MR. AKROTIRIANAKIS:
20· · · ·Q.· ·Have you used other apps in your lifetime      20· · · ·Q.· ·Okay.· And there's nothing like that with
21· ·other than WhatsApp?                                    21· ·WhatsApp; right?
22· · · · · · MR. BLOCK:· This is outside the scope.         22· · · · · · MR. BLOCK:· Object to form.
23· · · · · · But you can answer in your personal            23· ·Mischaracterizes.
24· ·capacity.                                               24· · · · · · THE WITNESS:· As I say earlier, the
25· · · · · · THE WITNESS:· I have used apps other than      25· ·WhatsApp registration flow does not require the user
                                                  Page 180                                                     Page 181
·1· ·to click through the terms of service, or to scroll     ·1· ·demonstrate acceptance of the terms in order to
·2· ·through a document after clicking through it.           ·2· ·continue the registration flow.
·3· ·BY MR. AKROTIRIANAKIS:                                  ·3· ·BY MR. AKROTIRIANAKIS:
·4· · · ·Q.· ·But you think that in 2018, 2019, and 2020,    ·4· · · ·Q.· ·So for all you know, it could say, "Click
·5· ·it did require clicking a box?                          ·5· ·here," and "here" is underscored, and it's a link to
·6· · · ·A.· ·My understanding based on the preparation      ·6· ·accept the terms of service?
·7· ·is that in order to proceed with the registration       ·7· · · · · · MR. BLOCK:· Objection to form.
·8· ·flow, you have to click a button of some sort --        ·8· · · · · · THE WITNESS:· Link wouldn't be the -- the
·9· ·whether that's a box or a button, I don't know the      ·9· ·term that we would use in that context.· If you are
10· ·specific shape -- but in order to demonstrate           10· ·clicking something to proceed in a flow, for
11· ·agreement of the terms of service, and to continue      11· ·instance, we would generally call that a "button."
12· ·with the registration process.                          12· ·BY MR. AKROTIRIANAKIS:
13· · · ·Q.· ·Could it just be clicking on a link?           13· · · ·Q.· ·Okay.· The entirety of your knowledge of
14· · · · · · MR. BLOCK:· Objection to form.                 14· ·what you're testifying to is -- is based 100 percent
15· · · · · · THE WITNESS:· Could you clarify what you       15· ·on these conversations you had with other WhatsApp
16· ·mean by "link" there?                                   16· ·employees yesterday, September 24, 2024; correct?
17· ·BY MR. AKROTIRIANAKIS:                                  17· · · · · · MR. BLOCK:· Objection to form.
18· · · ·Q.· ·Well, like, a box would be a little square,    18· · · · · · THE WITNESS:· As I mentioned, I personally
19· ·maybe, that you have to put a checkmark in or click     19· ·use WhatsApp, although it's been quite some time
20· ·your pointer in that box; right?                        20· ·since I registered for the service.· So I'm basing
21· · · · · · MR. BLOCK:· Objection to form.                 21· ·this testimony almost entirely on the preparation
22· · · · · · THE WITNESS:· Yeah.· Again, as I said, I       22· ·that I conducted yesterday.
23· ·don't know the shape of the particular box or button    23· ·BY MR. AKROTIRIANAKIS:
24· ·that a user had to -- would have to click in order      24· · · ·Q.· ·Well, you never registered for WhatsApp in
25· ·to proceed, but the user would have to click to         25· ·Israel, I take it; right?


                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                                YVer1f
        Case 4:19-cv-07123-PJH            Document 422-2            Filed 10/11/24        Page 6 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                          Job 3385
JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                         Pages· 318..319
                                                  Page 318                                                           Page 319
·1· ·PAGE· · LINE· · CHANGE/ADD/DELETE                       ·1· · · · · · · · ·CERTIFICATE OF REPORTER

·2· ·____· · ____ _______________________________________    ·2· · · · · ·I, DORIEN SAITO, CSR 12568, CLR, a certified
                                                             ·3· ·Shorthand reporter in and for the State of
·3· ·____· · ____ _______________________________________
                                                             ·4· ·California, County of Los Angeles, do hereby
·4· ·____· · ____ _______________________________________
                                                             ·5· ·certify;
·5· ·____· · ____ _______________________________________
                                                             ·6· · · · · ·That JONATHAN LEE, the witness named in the
·6· ·____· · ____ _______________________________________
                                                             ·7· ·foregoing deposition, was, before the commencement
·7· ·____· · ____ _______________________________________
                                                             ·8· ·of the deposition, duly administered an oath in
·8· ·____· · ____ _______________________________________    ·9· ·accordance with CCP 2094;
·9· ·____· · ____ _______________________________________    10· · · · · ·That said deposition was taken down in
10· ·____· · ____ _______________________________________    11· ·stenograph writing by me and thereafter transcribed
11· ·____· · ____ _______________________________________    12· ·into typewriting under my direction.
12· ·____· · ____ _______________________________________    13· · · · · ·That before completion of the deposition,
13· ·____· · ____ _______________________________________    14· ·review of the transcript [ ] was [x ] was not
14· ·____· · ____ _______________________________________    15· ·requested.· If requested any changes made by the

15· ·____· · ____ _______________________________________    16· ·deponent (and provided to the reporter) during the
                                                             17· ·period allowed are appended hereto.
16· ·____· · ____ _______________________________________
                                                             18· · · · · ·I further certify that I am neither counsel
17· ·____· · ____ _______________________________________
                                                             19· ·for nor related to any party to said action, nor in
18· ·____· · ____ _______________________________________
                                                             20· ·any way interested in the outcome thereof.
19· ·____· · ____ _______________________________________
                                                             21· · · · · ·Dated this 26th day of September, 2024.
20· ·____· · ____ _______________________________________    22
21· ·____· · ____ _______________________________________    23· · · · · · · · ·_________________________________
22· ·____· · ____ _______________________________________    · · · · · · · · · · · CERTIFIED SHORTHAND REPORTER
23· ·____· · ____ _______________________________________    24· · · · · · · · · · · IN AND FOR THE COUNTY OF
24· ·____· · ____ _______________________________________    · · · · · · · · · · ·LOS ANGELES, STATE OF CALIFORNIA
25· ·Deponent's Signature ___________________ Date           25




                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 7 of 113




               EXHIBIT 2
REDACTED VERSION OF DOCUMENT
     SOUGHT TO BE SEALED
             Case 4:19-cv-07123-PJH         Document 422-2        Filed 10/11/24   Page 8 of 113
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3226
     CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                    ·

·1· · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · OAKLAND DIVISION

·4· __________________________________

·5· WHATSAPP INC., a Delaware· · · · · )
· · corporation, and FACEBOOK, INC.,· ·)
·6· a Delaware corporation,· · · · · · )
· · a Delaware corporation,· · · · · · )
·7· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · Plaintiffs,· · · · · · )
·8· · · v.· · · · · · · · · · · · · · ·) Case No.
· · · · · · · · · · · · · · · · · · · ·) 4:19-cv-07123-PJH
·9· NSO GROUP TECHNOLOGIES LIMITED· · ·)
· · and Q CYBER TECHNOLOGIES LIMITED,· )
10· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · ·)
11· · · · · · · Defendants.· · · · · · )
· · ___________________________________)
12

13· · · · HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14· · · · · VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15· · · · · · · · · · ·DEPOSITION OF

16· · · WHATSAPP INC., by and through its Designated

17· · · · · · · · · · ·Representative,

18· · · · · · · · · · · · CARL WOOG

19· · · · · · · ·Palo Alto, California 94304

20· · · · · · · ·Wednesday, August 14, 2024

21

22

23· Reported Stenographically by:
· · MARY J. GOFF
24· CSR No. 13427
· · WA CSR No. 21030779
25· Job No. 3226
· · PAGES 1-384
       Case 4:19-cv-07123-PJH          Document 422-2          Filed 10/11/24       Page 9 of 113

                                              Page 174                                                   Page 175
1 working with great intensity to identify what was       1 and they were working to put to stop.
2 going on.                                               2    Q And do you know what that was based on,
3     Q So you have never spoken to                       3 that attribution to NSO?
4        , as far as you know?                            4    A Sir, based on their technical expertise.
5     A Sorry. I don't believe so, but I don't            5    Q So you don't know?
6 recall if I have.                                       6    A I'm not a technical expert, no, sir.
7     Q Do you know at all what his                       7    Q Okay. So you don't know?
8 responsibilities with respect to either WhatsApp or     8    A No, sir.
9 Facebook were?                                          9        ATTORNEY ANDRES: Objection, asked and
10     A Not that I recall.                              10 answered.
11     Q Do you know whether Mr. Robinson was            11     Q (BY ATTORNEY AKROTIRIANAKIS) Are all
12 attributing the exploitation of this vulnerability    12 WhatsApp chats end-to-end encrypted?
13 to NSO as of May 5, 2019?                             13     A Sir, we have a distinction between what we
14     A Sir I do not know what Mr. Robinson             14 refer to as "personal WhatsApp chats" and chats that
15 determined at that -- at that point in time.          15 are with businesses that use a technology service
16     Q Do you know if WhatsApp more generally was      16 called an "API."We have a White Paper that explains
17 attributing anything to NSO as of May 5, 2019?        17 this. Generally.
18     A I believe that was our -- our -- our            18         I think the way we think of WhatsApp is
19 strongest hypothesis that the team was working to     19 kind of how people like you and me would chat with
20 validate and confirm.                                 20 one another, but we also have these business
21     Q And do you know what that was based on?         21 services.
22     A Sir, I -- my recollection, I recall             22         Those business services using the API, we
23 security engineers telling me that they believed      23 do not designate those at end-to-end encrypted. But
24 that NSO was attacking our users.                     24 what people are thinking of when they are using
25        And this was an attack that was underway,      25 their WhatsApp in their handset on their -- on their
                                              Page 176                                                   Page 177
 1 phones app to app, those are indeed end-to-end         1    Q How much does it cost for a user to
 2 encrypted. We usually refer to those as personal       2 establish a WhatsApp account?
 3 images.                                                3    A Sir --
 4    Q All right. So all WhatsApp personal               4        ATTORNEY ANDRES: Objection, relevance.
 5 messages are end-to-end encrypted?                     5    A -- sir, accounts are free to establish.
 6    A Yes, sir.                                         6 There's no cost.
 7    Q And all WhatsApp calls are end-to-end             7    Q (BY ATTORNEY AKROTIRIANAKIS) So what --
 8 encrypted?                                             8 what does a person need in order to set up a
 9    A Yes, sir.                                         9 WhatsApp account?
10     Q Is that true both with respect to voice         10     A Sir, you need a mobile phone, and you need
11 calls and video calls?                                11 the ability to download the app from either the
12     A Yes, voice and video calls are both             12 Apple App Store or the Google Play Store.
13 protected by end-to-end encryption on an              13        Or you can also download the app directly
14 application-to-application basis.                     14 from our website, if you're having trouble accessing
15     Q Does a WhatsApp user have to pay extra for      15 those stores. And then you download that
16 the end-to-end encryption or is that a standard       16 application onto your phone.
17 feature?                                              17        And then from there you open the app.
18     A That's a standard feature, sir, and it          18 There'll be some information there about our Terms
19 cannot be turned off.                                 19 of Service that you would need to agree to prior to
20     Q So it's impossible to have a WhatsApp           20 using our service.
21 account -- a personal WhatsApp account without        21        And then there's just some initial setup
22 end-to-end encryption, correct?                       22 questions that -- that we have. And then from there
23     A That is how our service works, sir.             23 you're pretty much off and running.
24     Q So yes?                                         24     Q Well, what are the initial setup
25     A Yes.                                            25 questions?
       Case 4:19-cv-07123-PJH          Document 422-2            Filed 10/11/24      Page 10 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3226
CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                  Pages· 178..181
                                                Page 178                                                   Page 179
 1    A Well --                                            1     A I believe so.
 2        ATTORNEY ANDRES: Objection, relevance.           2     Q It could be symbols? It doesn't even have
 3    A -- well -- so you have to enter your phone         3 to be letters?
4 number in order to effectively activate your             4     A I don't know if you can use symbols.
5 account.                                                 5 That -- sometimes apps have trouble with symbols.
6         So you enter your phone number, and that         6         But perhaps. I don't know for sure. You
7 will send an SMS message to you, which you -- you        7 have to put in something, I believe, in that field.
8 type in a code for that, and then that allows you to     8     Q But it doesn't have to be your name?
 9 start your account.                                     9     A It does not have to be your name, sir.
10        I think we also ask for a name, which is         10     Q Other than what you have described right
11 optional. You can choose your actual name. You can      11 now, is there any other vetting that WhatsApp does
12 choose a nickname. I think there's an option to put     12 prior to granting a user account to someone?
13 in a photo and things like that, which you can do,      13     A Sir, I'm not an expert in this, but we do
14 if you chose.                                           14 have quite a talented group of people that are
15        And after that, you're able to chat freely       15 looking for signals of inauthenticity and perhaps
16 and securely.                                           16 abuse right from the setup time.
17     Q (BY ATTORNEY AKROTIRIANAKIS) So the "Name         17        So what we're looking for there is
18 Field" is not required?                                 18 potentially accounts that may be intended to be set
19     A I don't believe so, sir. I think you have         19 up for spam or automation or other account setup
20 to enter something in that name, but you don't have     20 that is inauthentic in some way.
21 to chose your actual name.                              21        I'm drawing to draw a distinction between
22        Does that --                                     22 that and a normal person who is just trying to use
23     Q Could --                                          23 WhatsApp for private and secure calls.
24     A -- distinction make sense?                        24     Q So like a -- you're trying to ferret out
25     Q Okay. It could be literally anything?             25 whether it's an actual person or a bot that's
                                                Page 180                                                   Page 181
1 setting the account?                                     1 multiple apps on one phone.
2     A I think that's fair to say, sir, yes.              2         So for example, we have the WhatsApp app
3     Q Okay. But assuming that somebody is an             3 and we have WhatsApp Business app.
 4 actual person, literally anybody could sign up for a    4         And you could use your phone and download
 5 WhatsApp account, as long as they have a mobile         5 both instances of WhatsApp on your phone.
 6 phone and the ability to download the WhatsApp app,     6         And the reason why some people want to do
 7 correct?                                                7 that is because they're a small business and they
 8    A Right. And then that text message                  8 like to separate their chats from their personal use
 9 authentication that I mentioned. Those basic steps.     9 and their business use. So it effectively gives
10     Q Right. But you don't, like, say: Like,            10 them two Inboxes to do so.
11 well, is this a person who we really want using our     11         And the Business app has some of its
12 system?                                                 12 own -- different policies and rules that I'm less
13         They just decide themselves, right?             13 familiar with. But effectively that's designed for
14     A That's right.                                     14 the small business owner that relies on WhatsApp to,
15     Q Can a person have multiple WhatsApp               15 you know, run their business, respond to customer
16 accounts with different phone numbers?                  16 inquiries, and hopefully run a successful business
17     A Yes. But basically a phone number -- an           17 that -- for their customers.
18 easier way of thinking of it is that an account is      18    Q So let's go back to the names.
19 tied to a phone number.                                 19         You said that -- that you have to -- that
20         So if you have two phones, then you could       20 your belief is that you have to put in something in
21 have a WhatsApp on one phone and a WhatsApp on the      21 the -- in the "Setup" field that requests a name,
22 other phone. That would be two accounts, but you        22 but it's incons -- inconsequential what it is that's
23 may be the same -- the same person. We have that.       23 put into that field; is that fair?
24         And then we also have the ability to            24    A That's fair. It's a user choice.
25 have -- we have multiple -- the ability to install      25    Q And that's permitted by the WhatsApp Terms



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH                 Document 422-2             Filed 10/11/24        Page 11 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                                Job 3226
CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                               Pages· 382..384
                                                        Page 382                                                           Page 383
·1                                                                 ·1· · · ·I, MARY J. GOFF, CSR No. 13427, Certified
·2                                                                 ·2· Shorthand Reporter of the State of California,
·3                                                                 ·3· certify;
·4· · · ·I, CARL WOOG, do hereby declare under penalty             ·4· · · ·That the foregoing proceedings were taken
·5· of perjury that I have read the foregoing                      ·5· before me at the time and place herein set forth, at
·6· transcript; that I have made any corrections as                ·6· which time the witness declared under penalty of
·7· appear noted, in ink, initialed by me, or attached             ·7· perjury; that the testimony of the witness and all
·8· hereto; that my testimony as contained herein, as              ·8· objections made at the time of the examination were
·9· corrected, is true and correct.
                                                                   ·9· recorded stenographically by me and were thereafter
10· · · ·EXECUTED this_______ day of_________________,
                                                                   10· transcribed under my direction and supervision; that
11· 20____, at___________________, ___________________.
                                                                   11· the foregoing is a full, true, and correct
· · · · · · · (City)· · · · · · · · (State)
                                                                   12· transcript of my shorthand notes so taken and of the
12
                                                                   13· testimony so given;
13
                                                                   14· · · ·That before completion of the deposition,
14· · · · · · · ·_______________________
                                                                   15· review of the transcript ( ) was (XX) was not
· · · · · · · · · · · · CARL WOOG
                                                                   16· requested:· ·(· ·) that the witness has failed or
15
                                                                   17· refused to approve the transcript.
16
                                                                   18· · · ·I further certify that I am not financially
17
                                                                   19· interested in the action, and I am not a relative or
18
19                                                                 20· employee of any attorney of the parties, nor of any

20                                                                 21· of the parties.

21                                                                 22· · · ·I declare under penalty of perjury under the

22                                                                 23· laws of California that the foregoing is true and
23                                                                 24· correct, dated this· · day of· · · ·, 2024.
24                                                                 25· · · · · · · ·_________________________
25                                                                 · · · · · · · · ·MARY J. GOFF

                                                        Page 384
·1· · · · · · · · · · · ERRATA SHEET
·2· · · · · · · · · · · SWIVEL LEGAL
·3· · · · · · · · ·560 W Main Street, C163
·4· · · · · · · ·Alhambra, California 91801
·5· · · · · · · · · · · 213-788-2327
·6· · · · · · · CASE:· WhatsApp v. NSO Group
·7· PAGE· LINE· FROM· · · · · · · · · · · TO
·8· ____|______|_________________________|______________
·9· ____|______|_________________________|______________
10· ____|______|_________________________|______________
11· ____|______|_________________________|______________
12· ____|______|_________________________|______________
13· ____|______|_________________________|______________
14· ____|______|_________________________|______________
15· ____|______|_________________________|______________
16· ____|______|_________________________|______________
17· ____|______|_________________________|______________
18
19· · · · · ______________________________
20· · · · · CARL WOOG
21· Subscribed and sworn to before me
22· this _____ day of _____________, 2024.
23· ______________________________________
24· · · · · · Notary Public
25




                                                  Swivel Legal Solutions
                                           800.540.9099· |· www.swivellegal.com
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 12 of 113




                EXHIBIT 3
 REDACTED VERSION OF DOCUMENT
     SOUGHT TO BE SEALED
            Case 4:19-cv-07123-PJH          Document 422-2       Filed 10/11/24   Page 13 of 113
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3296
     WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                              Page 1
                                                                                                   Page 1
·1· · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · OAKLAND DIVISION

·4· __________________________________

·5· WHATSAPP INC., a Delaware· · · · · )
· · corporation, and FACEBOOK, INC.,· ·)
·6· a Delaware corporation,· · · · · · )
· · a Delaware corporation,· · · · · · )
·7· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · Plaintiffs,· · · · · · )
·8· · · v.· · · · · · · · · · · · · · ·) Case No.
· · · · · · · · · · · · · · · · · · · ·) 4:19-cv-07123-PJH
·9· NSO GROUP TECHNOLOGIES LIMITED· · ·)
· · and Q CYBER TECHNOLOGIES LIMITED,· )
10· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · ·)
11· · · · · · · Defendants.· · · · · · )
· · ___________________________________)
12

13· · · · HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14· · · · · VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15· · · · · · · · · · ·DEPOSITION OF

16· · · WHATSAPP INC., by and through its Designated

17· · · · · · · · · · ·Representative,

18· · · · · · · · · · CLAUDIU GHEORGHE

19· · · · · · · ·Palo Alto, California 94304

20· · · · · · · · ·Friday, August 16, 2024

21

22· Reported Stenographically by:
· · MARY J. GOFF
23· CSR No. 13427
· · WA CSR No. 21030779
24· Job No. 3296
· · PAGES 1-295
25
       Case 4:19-cv-07123-PJH          Document 422-2           Filed 10/11/24       Page 14 of 113

                                                Page 26                                                      Page 27
1     A I'm confused.                                      1 it?
2     Q Let me rephrase. Scratch that.                     2     A Yes.
3     A Yeah.                                              3     Q And so that structure would involve some
4     Q Are the stanzas in XML?                           4 parameters and parameter values -- sort of parameter
5     A I believe it was an XML protocol, yes.            5 names and parameter values?
6     Q Okay. And so the format of the stanzas is         6        ATTORNEY BLOCK: Objection to form.
7 defined somewhere?                                      7      A It involves that, but not just that.
8     A Like right now?                                   8      Q (BY ATTORNEY WEINBERG) What else does it
9     Q In 2019. All of my questions will be              9 involve?
10 about how the system was in May of 2019.               10     A It involves other types of stanzas as well
11     A Okay. I believe there was a -- like a            11 that are child stanzas. So there's like a hierarchy
12 text document that described the stanzas in the        12 of stanzas, essentially.
13 protocol.                                              13     Q All right. So it's XML, so it's a
14        In one of the repositories that we had, it      14 hierarchical --
15 was called "the common repo" that was referenced by    15     A Yeah.
16 all the client and the server engineers.               16     Q -- structure?
17        And at that time we actually had a formal       17     A Yeah.
18 representation of the protocol in another system       18     Q And so an offer stanza, for example, is a
19 that actually led to the discovery of the attack --    19 kind of VoIP stanza?
20     Q All right.                                       20     A It's a type of stanza, yeah.
21     A -- so there was -- yeah.                         21     Q Okay. And so the structure for that kind
22     Q So a stanza, which you said is an                22 of stanza is defined in this common repo?
23 XML-defined message --                                 23     A Yeah.
24     A Yes.                                             24     Q Okay. Let me put a document in front of
25     Q -- has a certain -- certain structure to         25 you. 1167.
                                                Page 28                                                      Page 29
 1         (Exhibit 1167 was marked for                    1     Q (BY ATTORNEY WEINBERG) And so what's
 2 identification and is attached to the transcript.)      2 reflected here in this document is the actions and
 3     Q (BY ATTORNEY WEINBERG) I want to chat with        3 messages -- actions taken and messages sent for this
 4 you a bit about the stanzaming. Is that how you         4 SEV project, the stanzaming project?
 5 pronounced it, stanzaming?                              5        ATTORNEY BLOCK: Objection to form.
 6     A Stanzaming.                                       6     A Yes.
 7     Q Got it.                                           7     Q (BY ATTORNEY WEINBERG) Okay. I would like
 8         Do you recognize this document?                8 you to take a quick look at page 3. Towards the
 9     A Yes.                                             9 bottom it says that -- there's a message from
10      Q What is it?                                     10                           on Monday, May 6, at -- 2019,
11      A It displays a SEV that was filed for the        11 at 12:27 p.m.?
12 incident.                                              12      A Yes.
13      Q Okay. What is an SEV?                           13      Q And he says that the WhatsApp engineering
14      A Yeah, so a SEV or S-E-V is a formal             14 work for this SEV investigation is coordinated by
15 document used by Facebook to track the operational     15 you; is that accurate?
16 or security incidents within the company.              16      A Yes.
17      Q Okay. And what would I call this kind of        17      Q And what does that mean, it was
18 document? Is this a chat? Is this -- what kind of      18 "coordinate -- well, what is "engineering work" that
19 a system is this kept in?                              19 he is referring to?
20          ATTORNEY BLOCK: Objection to form.            20      A It is the engineering work required to
21      A So I'm trying -- like, I don't know             21 investigate and remediate the attack.
22 exactly how to explain this as a concept. Outside      22      Q And the engineering work comprises what?
23 it -- it's kind of like a task, but it's really not    23      A It involved a lot of steps and a lot of
24 like a task. It's more like a project, like, if I      24 work from -- not just from me, but from a larger
25 would have to explain it in a different way.           25 group of people.
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 15 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                     Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                      Pages· 30..33
                                                  Page 30                                                     Page 31
·1· · · ·Q· · Okay.· I guess I'm just trying to get a       ·1· · · ·A· · Ensuring progress in monitoring, yes.
·2· sense of what distinguishes engineering work from       ·2· · · ·Q· · It lists five tasks that were -- that you
·3· some other category of work that you may have not       ·3· were coordinating here.
·4· been responsible for.                                   ·4· · · · · · Would you be able to just introduce us to
·5· · · · · · Would you be able to shed some light on       ·5· each of these five tasks and what they entailed?
·6· that?                                                   ·6· · · ·A· · So Number 1 -- and by the way, I don't
·7· · · · · · ATTORNEY BLOCK:· Objection to form.           ·7· remember all the details of these tasks right now,
·8· · · ·A· · Like, what was the nonengineering work?       ·8· so I'll do my best to say it based on what I
·9· · · ·Q· · (BY ATTORNEY WEINBERG) Well, if you're        ·9· remember.
10· coordinating the engineering work, was there other      10· · · · · · Number 1, "logging packets from attackers
11· kinds of work that you weren't coordinating or were     11· in EdgeRay," this task was about logging data from
12· you coordinating all the work?                          12· the relay servers for the calls that we flagged at
13· · · · · · ATTORNEY BLOCK:· Objection to form and --     13· "suspicious" and as part of the attack.
14· · · ·A· · I was coordinating just the engineering at    14· · · ·Q· · What are the relay servers?
15· WhatsApp.                                               15· · · ·A· · The relay servers are the servers
16· · · · · · ATTORNEY BLOCK:· -- just pause and give me    16· responsible for handling the realtime traffic
17· a chance to object before you start your answer,        17· between devices during a call on WhatsApp.
18· please.                                                 18· · · ·Q· · So they're a proxy between WhatsApp
19· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· And so what     19· clients?
20· does "coordinating network" mean?                       20· · · · · · ATTORNEY BLOCK:· Objection to form.
21· · · ·A· · Coordination in this case means scoping       21· · · ·A· · They're not just proxy.· They are -- they
22· work that needs to be done in order to achieve the      22· have an essential role in establishing the realtime
23· goal.                                                   23· channel between the devices.
24· · · ·Q· · And monitoring its progress as well, I        24· · · ·Q· · (BY ATTORNEY WEINBERG) The relay servers
25· assume?                                                 25· also work in establishing the connection between
                                                  Page 32                                                     Page 33
·1· the --                                                  ·1· · · · · · In some scenarios, it's not possible.· The
·2· · · ·A· · They --                                       ·2· network configuration does not allow that to -- to
·3· · · ·Q· · -- clients?                                   ·3· happen.
·4· · · ·A· · -- facilitate the connection -- the           ·4· · · ·Q· · So the relay servers will proxy
·5· realtime connection between the devices.                ·5· information between the clients whenever it's not
·6· · · ·Q· · What's difference between facilitating and    ·6· possible for the clients to communicate with each
·7· establishing?                                           ·7· other directly; is that accurate?
·8· · · ·A· · In some cases there's direct                  ·8· · · · · · ATTORNEY BLOCK:· Objection to form.
·9· communication -- realtime communication between the     ·9· · · ·A· · Yes.
10· devices.                                                10· · · ·Q· · (BY ATTORNEY WEINBERG) I have seen a lot
11· · · · · · So if I call you, in some scenarios the       11· of references to "signaling servers" in the
12· packets will actually not go through the relay.· But    12· documents.
13· in order to establish -- to -- like, in order to        13· · · · · · What's the difference between the relay
14· establish that channel, you have to go through the      14· servers and the signaling servers?
15· relay first.· But the actual packets are not proxied    15· · · ·A· · There are two main flows in establishing
16· in that case.                                           16· the call on WhatsApp.· The first part that happens
17· · · · · · So in about 50 percent of the cases, the      17· at the beginning when you set up the call is called
18· relay acts as a proxy; but in the rest of them, it      18· signaling.
19· does not act as a proxy.                                19· · · · · · And the second part that happens -- that
20· · · ·Q· · How do you determine -- or how does the       20· transfers the real -- makes the realtime
21· system determine whether the relay will be acting as    21· communication between the devices is the relay.
22· a proxy between clients and when it will not?           22· · · ·Q· · I guess I need some clarification.· The --
23· · · ·A· · It is based on heuristics and whether         23· you said earlier that the relay servers facilitate
24· we -- we can establish a direct connection between      24· the creation of the connection?
25· the devices or not.                                     25· · · ·A· · Of the realtime channel.


                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH          Document 422-2            Filed 10/11/24      Page 16 of 113

                                                 Page 34                                                    Page 35
1       Q Of the realtime channel.                          1    A Yes.
2          So could you clarify what's the difference       2    Q -- in the --
3 between establishing the creation of the realtime         3    A The VoIP signaling is a module within
4 channel versus initiating -- setting up a call,           4 chatd.
5 which is done by the signaling servers?                   5    Q And so the voice signaling uses the chat
6          ATTORNEY BLOCK: Objection to form.               6 functionality of WhatsApp to establish calls?
7       A So just to clarify, the difference between        7    A To start the call.
8 the -- yeah.                                              8    Q To start the call.
9       Q (BY ATTORNEY WEINBERG) Yeah, sorry. The           9         And once it starts the call, the -- the
10 signaling servers, you said, set up the call.           10 relay server establishes the realtime channel?
11          And then you said that the relay servers       11     A Exactly.
12 will help establish the realtime channel and then       12     Q And then half the time -- or some portion
13 sometimes proxy data from one client to the other;      13 of the time that relay server will then proxy data
14 is that accurate?                                       14 between the two clients and in other instance it
15      A Yes.                                             15 will -- the two clients will access -- will
16          ATTORNEY BLOCK: Objection, misstates the       16 communicate directly in a peer-to-peer fashion?
17 testimony.                                              17          ATTORNEY BLOCK: Objection to form.
18      Q (BY ATTORNEY WEINBERG) Could you expound a       18     A Yes.
19 little bit on that -- those two different functions?    19     Q (BY ATTORNEY WEINBERG) So we will get into
20      A Yes. So the setup of the call always             20 all of this in detail in a little bit. I just
21 starts with the signaling server. And the signaling     21 wanted to close the loop on this resume.
22 server is the same server that we use for chat, so      22          In 2019, shortly after the stanzaming
23 it's synonymous with chatserver.                        23 investigation, your title changed to software
24      Q Is that what's referred to as the                24 engineering manager for application security; is
25 chatdservers --                                         25 that correct?
                                                 Page 36                                                    Page 37
 1     A Yes.                                               1 partner that was assigned to WhatsApp.
 2     Q And that was a position you held from 2019         2         And part of the security team was not
 3 to 2021?                                                 3 just -- not just hiring new people that worked full
 4     A Yes.                                               4 time for WhatsApp, but it was also working
 5     Q Could you describe your work and                   5 cross-functionally with other teams in Facebook like
 6 responsibilities in that position?                       6 the Facebook security team.
 7    A So the main responsibility that I had for           7         And there were already people assigned to
 8 the WhatsApp application security team is to drive       8 WhatsApp before we had the team. It was just not
 9 the roadmap for hardening and improving security        9 organized in the same way that we did it after.
10 across WhatsApp.                                        10     Q Do you remember in 2019, when you became
11     Q And was this a new position created in            11 the software engineering manager for application
12 response to the stanzaming incident?                    12 security, who you reported to?
13        ATTORNEY BLOCK: Objection to form;               13     A The first manager that I had was
14 foundation.                                             14       .
15     A I'm not sure what you mean by -- like, in         15     Q And you had another manager after that,
16 response to that.                                       16 evidently?
17     Q (BY ATTORNEY WEINBERG) Was there a                17     A Yeah, he left the company. And then the
18 security team before you took over as the security      18 next manager that I had was                .
19 engineering manager?                                    19     Q And then how big was your team by the end
20        ATTORNEY BLOCK: Objection to form.               20 of 2019?
21     A There were people working on security, but        21     A By the end of 2019, I have to remember,
22 it was not a team dedicated to it.                      22 but I think we only had three years, I believe, in
23     Q (BY ATTORNEY WEINBERG) What's the                 23 the team.
24 difference?                                             24     Q And who were they?
25     A So we had, for instance, a security               25     A I believe                         and
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 17 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 102..105
                                                 Page 102                                                    Page 103
·1· correct?                                                ·1· Facebook and WhatsApp and the ISP?
·2· · · · · · ATTORNEY BLOCK:· Objection to form.           ·2· · · · · · ATTORNEY BLOCK:· Objection to form.
·3· · · ·Q· · (BY ATTORNEY WEINBERG) I'll rephrase.         ·3· · · ·A· · Facebook.
·4· · · · · · The ultimate choice of a physical server      ·4· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· The -- can a
·5· that processes the request is the result of             ·5· user choose the specific physical server that
·6· WhatsApp's algorithms by choice?                        ·6· ultimately would process his request?
·7· · · · · · ATTORNEY BLOCK:· Objection to form;           ·7· · · · · · ATTORNEY BLOCK:· Objection to form.
·8· misleading.                                             ·8· · · ·A· · By "user," you mean a human?
·9· · · ·A· · The load balancer that takes the decision     ·9· · · ·Q· · (BY ATTORNEY WEINBERG) I'll try -- I'll
10· of which physical server is actually provided by        10· start with that, sure.
11· Facebook infrastructure.· That's not what the           11· · · ·A· · There's -- we don't provide a way for --
12· WhatsApp team works on.                                 12· for the user to choose what server will process the
13· · · ·Q· · (BY ATTORNEY WEINBERG) So the -- I guess      13· request.
14· we did speak about WhatsApp's DNS.· We talked about     14· · · ·Q· · So it's not possible for a client to send
15· ISP's DNS.· And now we're talking about Facebook's      15· a request into WhatsApp's infrastructure and specify
16· load balancers, right?                                  16· which server -- physical server will process that
17· · · ·A· · Yes.                                          17· request?
18· · · ·Q· · And those are all components owned by --      18· · · · · · ATTORNEY BLOCK:· Objection to form.
19· or operated by parties other than the user, correct?    19· · · ·A· · By "client," you mean an official WhatsApp
20· · · · · · ATTORNEY BLOCK:· Objection to form.           20· client?
21· · · ·A· · I'm not sure about the concept of, like,      21· · · ·Q· · (BY ATTORNEY WEINBERG) Let's start with
22· parties other than the user.· What --                   22· that.
23· · · ·Q· · (BY ATTORNEY WEINBERG) Those are --           23· · · ·A· · Sure.· A WhatsApp official client does not
24· · · ·A· · -- does that mean?                            24· allow setting the -- the physical server that will
25· · · ·Q· · Those are server programs controlled by       25· handle the request.
                                                 Page 104                                                    Page 105
·1· · · ·Q· · Okay.· Did Pegasus send requests that         ·1· application layer, if we could.
·2· specified the physical server that would handle the     ·2· · · · · · The signaling server, which you said was
·3· request?                                                ·3· the chatdserver helps a client establish a call, you
·4· · · · · · ATTORNEY BLOCK:· Objection to form;           ·4· said?
·5· foundation.                                             ·5· · · · · · ATTORNEY BLOCK:· Objection to form.
·6· · · · · · You can answer, if you know.                  ·6· · · ·A· · I don't remember exactly what I said.
·7· · · ·A· · I don't know what Pegasus did.                ·7· · · ·Q· · (BY ATTORNEY WEINBERG) If you would open
·8· · · ·Q· · (BY ATTORNEY WEINBERG) All right.· But you    ·8· up the -- the White Paper, you'll see right there in
·9· have no evidence or reason to believe then that         ·9· that -- on page 4, the "WhatsApp VoIP
10· Pegasus sent requests into this infrastructure and      10· Infrastructure":
11· targeted a specific physical server location?           11· · · · · · · · ·WhatsApp VoIP infrastructure
12· · · · · · ATTORNEY BLOCK:· Objection,                   12· · · · · · has server and client applications.
13· mischaracterizes; calls for speculation.                13· · · · · · The server functions as an
14· · · ·A· · I don't know whether they targeted or not.    14· · · · · · intermediary between the WhatsApp
15· I just don't know.                                      15· · · · · · applications, helping them to
16· · · ·Q· · (BY ATTORNEY WEINBERG) All right.· Can I      16· · · · · · establish a call, as well as
17· ask you a few questions about the -- hang on.           17· · · · · · proxying VoIP data between clients
18· Scratch that.· All right.                               18· · · · · · once the call starts.
19· · · · · · That was a really great side from where we    19· · · · · · Do you see that?
20· left off with the signaling server.· I think that's     20· · · ·A· · Yes.
21· where we left off.· We were talking about the           21· · · ·Q· · Okay.· So we are talking -- that's two
22· signaling server initiating a VoIP call and how it      22· different operations.
23· did that, and we just discussed the physical and        23· · · · · · One of them is establishing the call.· The
24· transport layer infrastructures, the routing            24· other one is -- is proxying data once the call
25· infrastructures that it uses.· So back up to the        25· starts.· So I would like, to talk about that first



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 18 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 114..117
                                                 Page 114                                                    Page 115
·1· · · ·A· · So these are concurrent.· So as soon as       ·1· caller; and now if the callee picks up the phone,
·2· the caller receives -- the -- the callee receives       ·2· his device will send an Answer stanza somewhere?
·3· the offer, as soon as it's processed and it starts      ·3· · · ·A· · To the chatd.
·4· ringing in the same time, it also sends back a          ·4· · · · · · ATTORNEY BLOCK:· Objection to form.
·5· confirmation to the server that it started ringing.     ·5· · · ·Q· · (BY ATTORNEY WEINBERG) The caller, once
·6· · · · · · And I don't recollect specifically the        ·6· the caller picks up the phone, the caller's phone
·7· name of that stanza, but I think it's a -- I think      ·7· will send an Answer stanza back to the chatdserver,
·8· it's an offer ACK that is being sent.                   ·8· right?
·9· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· What then       ·9· · · · · · ATTORNEY BLOCK:· Object to form.
10· does the chatdserver do once it receives this offer     10· · · ·A· · The caller will send back an answer when
11· ACK?                                                    11· the user presses the "Answer" button, yes.
12· · · ·A· · I think what it does is it forwards the       12· · · · · · ATTORNEY BLOCK:· Did you say "caller" or
13· ACK to the call so that the caller can also start       13· "callee" on that one?· I got confused.
14· the ring -- the ringing process.                        14· · · ·Q· · (BY ATTORNEY WEINBERG) The callee would
15· · · ·Q· · Have you heard the term "offer" --            15· send the answer?
16· sorry -- "Answer stanza"?                               16· · · · · · ATTORNEY BLOCK:· I think we have got
17· · · ·A· · Yes.                                          17· testimony about the "caller" sending an answer
18· · · ·Q· · I saw it in some of the documents.            18· stanza.
19· · · · · · What is it is Answer stanza?                  19· · · · · · ATTORNEY AKROTIRIANAKIS:· I'm sure she is
20· · · ·A· · The Answer stanza, I believe, is the          20· going to have to listen when she goes through it, I
21· stanza that is sent from the callee at the moment       21· hope.
22· the user presses the "Answer" button and accepts the    22· · · ·A· · Yeah, that's not accurate.· So the answer
23· call.                                                   23· is only sent by the callee.
24· · · ·Q· · All right.· So at our current step, the       24· · · ·Q· · (BY ATTORNEY WEINBERG) Got it.· All right.
25· chatdserver sent the offer ACK back to the -- to the    25· At that point is there a peer-to-peer connection
                                                 Page 116                                                    Page 117
·1· established?                                            ·1· that the caller has been reached and the offer was
·2· · · ·A· · No.                                           ·2· ACK'd by the callee.
·3· · · · · · ATTORNEY BLOCK:· Objection to form.           ·3· · · · · · And once they both know that -- both --
·4· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· So what         ·4· they know about each other, that they're aware that
·5· happens next?                                           ·5· there's a call happening, this is when the -- the
·6· · · ·A· · Even before the answer happens, there's a     ·6· relay and bandwidth negotiation starts happening.
·7· negotiation process between the caller and the          ·7· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· Tell me
·8· callee about the latency, about the bandwidth that      ·8· about what you mean by "the relay and bandwidth
·9· is going to be used.· So all that negotiation           ·9· negotiation."
10· happens before there's any -- any answer.               10· · · · · · ATTORNEY BLOCK:· Objection to form.
11· · · ·Q· · Okay.· So then I'll go back one step.         11· · · ·A· · About each of them or --
12· · · · · · The chatdserver sent the offer ACK to the     12· · · ·Q· · (BY ATTORNEY WEINBERG) I just want to know
13· caller and now a negotiation process begins, you        13· the steps that are involved in the negotiation
14· say?                                                    14· process that you just mentioned.
15· · · · · · ATTORNEY BLOCK:· Objection to form.           15· · · · · · ATTORNEY BLOCK:· Objection to form.
16· · · ·A· · Sorry.· So the -- the caller -- can you       16· · · · · · Wait for a question.
17· repeat the last part?                                   17· · · ·Q· · (BY ATTORNEY WEINBERG) What are the steps
18· · · ·Q· · (BY ATTORNEY WEINBERG) The callee sends an    18· of the negotiation process you just mentioned?
19· acknowledgment back to the chatdserver, the offer       19· · · · · · ATTORNEY BLOCK:· Objection to form.
20· acknowledgment, and what happens next?                  20· · · ·A· · About what negotiation?
21· · · · · · You talked about a negotiation process.       21· · · ·Q· · (BY ATTORNEY WEINBERG) You testified that
22· · · · · · ATTORNEY BLOCK:· Objection to form.           22· the chatdserver sends the offer ACK back to the
23· · · ·A· · The chat server will forward the offer ACK    23· caller.
24· or send another stanza that I don't remember its        24· · · · · · And after that happens and the two -- the
25· name.· But it would signal to the callee, the fact      25· caller and the callee know that they are now ready



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 19 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 118..121
                                                 Page 118                                                    Page 119
·1· to communicate, a negotiation process begins wherein    ·1· callee attempt to connect to every relay in that
·2· the caller and callee negotiate the relay and           ·2· list using the authorization token.
·3· bandwidth parameters.                                   ·3· · · ·Q· · Okay.· So to rephrase what you said, the
·4· · · · · · I would like to understand, if you could      ·4· chatdserver provides a list to the two clients of
·5· explain to me, what that negotiation entails.           ·5· relay servers and provides them authentication
·6· · · · · · ATTORNEY BLOCK:· Objection to form;           ·6· credentials, and each one tries to connect to the --
·7· misstates.                                              ·7· to all of the relay servers provided to them by the
·8· · · ·A· · So this negotiation, the relay                ·8· chatdserver?
·9· negotiation, starts by every -- both caller and         ·9· · · ·A· · Authorization token.
10· callee probing -- reaching all the relays in the        10· · · · · · ATTORNEY BLOCK:· Objection to the form;
11· list of relays that were distributed by the chat        11· misstates.
12· server.                                                 12· · · ·A· · Authorization token.· It's only
13· · · ·Q· · (BY ATTORNEY WEINBERG) Sorry.· Say that       13· authorization.· It's not authentication.
14· again.                                                  14· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· Tell me --
15· · · ·A· · So both caller and callee will attempt        15· what is that authorization token?
16· connecting to every relay in the list of relays that    16· · · ·A· · So the relay server is designed in a way
17· they both -- they were both given by the signaling      17· that it does not perform advanced authentication of
18· server.                                                 18· the devices that send data to it.
19· · · ·Q· · Okay.· What's next?                           19· · · · · · It operates at a lower security level
20· · · ·A· · This process is done not just by the          20· where the only thing that it does is validates an
21· IP address, but also by an authorization token that     21· authorization token that has a low expiration time.
22· is unique to the call.· So both caller and callee       22· · · · · · So as long as you have a valid token, you
23· will be passed a unique authorization token to use      23· can use the relay.· So that is authorization for
24· only those specific relays.                             24· authentication, but we don't -- we don't
25· · · · · · And using the token, both the caller and      25· authenticate the users of the relay.
                                                 Page 120                                                    Page 121
·1· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· What is the     ·1· got done saying that?
·2· purpose of trying to connect to all those relays?       ·2· · · ·A· · Yes, the chatdservers decide that.· Yes.
·3· · · ·A· · The purpose of connecting to the relays is    ·3· · · ·Q· · Okay.· And then there's a second choice,
·4· firstly to see which one is available; and second,      ·4· evidently, that you talked about just before this
·5· to measure the latency to each of them.                 ·5· where the clients connect to this list of relay
·6· · · ·Q· · Let me ask:· How does the chatdserver         ·6· servers and then they -- each one decides which one
·7· decide which relay servers to give to these two         ·7· of the connections to then use; is that --
·8· clients?                                                ·8· · · ·A· · I think it's a little confusing -- there's
·9· · · · · · ATTORNEY BLOCK:· Object to form.              ·9· some confusion in there, so let me clarify.
10· · · ·A· · The decision to pick -- to select the list    10· · · ·Q· · Sure.
11· of relays is based on latency measurements.· And the    11· · · ·A· · Both the server -- both the signaling
12· information that it uses is the caller IP address       12· server and the clients make a decision in this
13· and the last seen IP of the callee.                     13· process.· It's a hybrid decision.
14· · · · · · The algorithm that we used at that time       14· · · · · · So the server picks the top five, let's
15· was essentially to find the top three of each --        15· say, or three.· But in the end, each client picks
16· based on each IP address, and we merged the list so     16· its own, like, relay to use, and that's just one.
17· that the sum of the latency is -- is the lowest.        17· But the client decides that based on the short list.
18· · · · · · So we choose the top lowest latency sum in    18· · · ·Q· · Do the two clients have to agree on a
19· that merged list of the relays, and that's the one      19· specific relay server to use?
20· that we delivered to both of them.                      20· · · ·A· · They don't.· The -- the network paths are
21· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· So the          21· completely asynchronous and, like, they don't need
22· chatdserver chooses which relay servers the clients     22· to be the same.
23· should attempt to connect to?                           23· · · · · · So the packets -- if I initiate a voice
24· · · · · · ATTORNEY BLOCK:· Object to form.              24· video call to you, the packets that I sent to you
25· · · ·Q· · (BY ATTORNEY WEINBERG) I think you just       25· don't need to take the same network path that



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 20 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 122..125
                                                 Page 122                                                    Page 123
·1· you sent -- the packets that you sent to me.            ·1· · · ·A· · It's a custom STUN protocol.
·2· They're separate.                                       ·2· · · ·Q· · STUN?
·3· · · · · · However, in most cases they'll use a          ·3· · · ·A· · STUN, S-T-U-N.
·4· similar network path, but that's just statistics.       ·4· · · ·Q· · STUN?
·5· · · ·Q· · All right.· And they make that choice         ·5· · · ·A· · It is a -- STUN is a -- it's a protocol
·6· based on performance considerations, I assume?          ·6· format.· So the messages are -- are using the STUN
·7· · · ·A· · Yes.                                          ·7· headers, but the protocol itself is designed by
·8· · · ·Q· · All right.· What's an example of the          ·8· WhatsApp.· It's proprietary.
·9· performance considerations?                             ·9· · · ·Q· · What do you mean by the -- which part of
10· · · ·A· · What do you mean by "performance              10· it is proprietary and which part of it's not
11· consideration"?                                         11· proprietary?
12· · · ·Q· · The client chooses a relay server based on    12· · · · · · ATTORNEY BLOCK:· Objection to form.
13· which server provides it the best performance,          13· · · ·A· · So for instance, the headers are standard.
14· generally speaking, correct?                            14· They're part of the STUN message format.
15· · · · · · ATTORNEY BLOCK:· Object to form.              15· · · · · · But the payload inside the STUN messages
16· · · ·A· · The best latency.                             16· is customized for the face -- for the WhatsApp
17· · · ·Q· · (BY ATTORNEY WEINBERG) The best latency.      17· network, particularly with regards to encryption.
18· · · · · · So what is the definition of "latency"?       18· · · ·Q· · (BY ATTORNEY WEINBERG) What sorts of data
19· · · ·A· · It's a roundtrip time between the client      19· is in the payload of these STUN protocol messages?
20· device and the edge location or the relay.              20· · · ·A· · The most important piece of information
21· · · ·Q· · Okay.· So now the connection between the      21· that is sent in the payload, it's the authorization
22· clients and the relay server, is there a protocol       22· token that I mentioned before, which is a preshared
23· for establishing that connection?                       23· key ex -- preshared key encryption mechanism that
24· · · ·A· · Yes.                                          24· has built-in expiration.
25· · · ·Q· · And what protocol is that?                    25· · · ·Q· · So explain that to me.· You said earlier
                                                 Page 124                                                    Page 125
·1· that the authentication token or --                     ·1· · · ·Q· · Okay.· So now that the clients are
·2· · · ·A· · Authorization token.                          ·2· connected to their respective relays, what happens
·3· · · ·Q· · -- authorization token is different -- is     ·3· next in the protocol?
·4· not authentication.                                     ·4· · · ·A· · So the clients do probing of the relay
·5· · · · · · So could you help me understand the           ·5· during this phase of negotiation by sending multiple
·6· difference between these two things?· I could draw      ·6· messages and taking a lot of measurements.· And the
·7· an analogy, but maybe you can as well.                  ·7· next thing that they do is they exchange that data
·8· · · · · · ATTORNEY BLOCK:· Objection to form.           ·8· between them.
·9· · · ·A· · Between authorization and authentication?     ·9· · · ·Q· · Exchange what data between them?
10· · · ·Q· · (BY ATTORNEY WEINBERG) Yeah.· Is              10· · · ·A· · The data -- the latency measurements that
11· authorization like you have a key and anybody who       11· each party has done.
12· has a key can walk in and authorization, and            12· · · ·Q· · Okay.
13· authentication is knowing somebody's identity; is       13· · · ·A· · That data is exchanged through a stanza
14· that the difference?                                    14· that is specific.· And I don't remember exactly the
15· · · · · · ATTORNEY BLOCK:· Object to form.              15· name if the stanza, but it's a specific stanza only
16· · · ·A· · That's one way to characterize it, yes,       16· used for VoIP.
17· informally.                                             17· · · · · · So the signaling server is again involved
18· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· How would       18· with proxying this information from the caller to
19· you characterize it?                                    19· the callee and from the callee to the caller.· Both
20· · · ·A· · So authentication requires a higher level     20· ways.
21· of checking.· And it involves check -- like,            21· · · ·Q· · Okay.· And then what?
22· verifying the identity of the end -- of the endpoint    22· · · ·A· · At that point each -- both the caller and
23· that is trying to connect.· Whereas, with               23· the callee knows -- designates a particular relay
24· authorization, as long as you have the token,           24· that they will start using.
25· there's no other checks that are being performed.       25· · · · · · And nothing else happens as -- until the



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 21 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 134..137
                                                 Page 134                                                    Page 135
·1· · · ·Q· · Any others?                                   ·1· · · ·A· · Would you want to be more specific with
·2· · · ·A· · Not from what I remember.                     ·2· regards to, like, what authorization --
·3· · · ·Q· · Okay.· So we spoke about the chatdservers     ·3· · · ·Q· · (BY ATTORNEY WEINBERG) Sure.· Let's start
·4· and the relay servers.· I'll start with the             ·4· with the load balancers.· All right.
·5· chatdservers.                                           ·5· · · · · · The edge load balancers, when it receives
·6· · · · · · Where were they implemented?· The             ·6· a request, will it process it automatically or will
·7· computers that executed the chatd functionality,        ·7· it check for some kind of authorization?
·8· where were they located?                                ·8· · · · · · ATTORNEY BLOCK:· Object to form.
·9· · · ·A· · They were located in the data centers that    ·9· · · ·A· · The edge location, in case of the relay,
10· we just mentioned.                                      10· it will check the author -- authorization token in
11· · · ·Q· · Okay.· And the relay servers, were they       11· the STUN message that is sent by the client.
12· also located in the data centers we just mentioned?     12· · · · · · And if that token is not valid, it will
13· · · ·A· · No.                                           13· not allow the use of the relay.
14· · · ·Q· · Okay.· Where were they located?               14· · · ·Q· · (BY ATTORNEY WEINBERG) And that's those
15· · · ·A· · The relay servers were located in the edge    15· temporary tokens that don't do authorization -- I'm
16· locations that we talked about earlier.                 16· sorry -- that don't do authentication --
17· · · ·Q· · And those edge locations are the 100          17· · · ·A· · Exactly.
18· locations, including the two in California?             18· · · ·Q· · -- but instead do authorization?
19· · · ·A· · Yes.                                          19· · · ·A· · Exactly.
20· · · ·Q· · Okay.· In order to access one of these        20· · · ·Q· · And what about the chatdservers?· What
21· servers, for example, the chatdserver or the relay      21· kind of credentials are required for accessing the
22· servers or one of these load balancing servers,         22· functionality implemented by the chatdservers?
23· there is presumably some kind of either                 23· · · · · · ATTORNEY BLOCK:· Objection to form.
24· authorization or authentication that occurs?· Yes?      24· · · ·A· · The chatdservers -- and just to be clear,
25· · · · · · ATTORNEY BLOCK:· Object to form.              25· we're talking about the servers in the data centers
                                                 Page 136                                                    Page 137
·1· now, not in the edge locations?                         ·1· · · ·Q· · And the client passes it along with every
·2· · · ·Q· · (BY ATTORNEY WEINBERG) Are the                ·2· request that it makes to the chatdserver?
·3· chatdservers in the edge locations?                     ·3· · · ·A· · It doesn't.· It's more complicated.
·4· · · ·A· · No.                                           ·4· · · ·Q· · Okay.· Tell me --
·5· · · ·Q· · So then the chatdservers in the data          ·5· · · ·A· · It's -- it's part of the handshake -- the
·6· centers?                                                ·6· initial handshake that it does with the chatd.· But
·7· · · ·A· · In the data centers, which is only load       ·7· from that point on, it uses a preshared key to -- it
·8· balancers in the edge locations.                        ·8· uses a negotiated shared key to encrypt the rest of
·9· · · · · · And those will not perform authentication     ·9· the traffic.
10· for the chat traffic.· The authentication happens on    10· · · ·Q· · Got it.· How are the original credentials
11· the chat servers inside the data centers.               11· obtained?
12· · · · · · And it's based on -- it's a proprietary       12· · · ·A· · The credentials are obtained through the
13· protocol -- it's the noise protocol that essentially    13· registration process to WhatsApp.
14· provides both encryption and authentication at the      14· · · ·Q· · Okay.· And what does WhatsApp then send
15· same time.                                              15· the user that constitutes these credentials?
16· · · ·Q· · Okay.· Tell me about this authentication      16· · · · · · ATTORNEY BLOCK:· Object to form.
17· protocol for accessing the chatdservers.                17· · · ·A· · I'm not sure what you mean by "what does
18· · · · · · ATTORNEY BLOCK:· Object to form.              18· it send to users."
19· · · ·A· · What specifically do you want to know         19· · · ·Q· · (BY ATTORNEY WEINBERG) When the user needs
20· about it?                                               20· to authenticate the chatdservers, it needs to
21· · · ·Q· · (BY ATTORNEY WEINBERG) What is the form of    21· provide some kind of authenticating information, so
22· the credentials?                                        22· I'm asking:· What does WhatsApp provide the client
23· · · ·A· · In a simplified way, the credential is        23· to help it authenticate those requests?
24· essentially an identity key that's stored on the        24· · · · · · ATTORNEY BLOCK:· Object to form.
25· client device.                                          25· · · ·A· · So in order to validate -- to



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 22 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 138..141
                                                 Page 138                                                    Page 139
·1· authenticate, the WhatsApp server sends an              ·1· · · ·A· · You can refer to it as a private key, yes.
·2· activation code to verify that the person who           ·2· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· And how does
·3· initiates the registration process has ownership        ·3· it use that private key to authenticate to the
·4· over the phone number.                                  ·4· chatdserver?
·5· · · · · · And it's over SMS.· So we'll send the code    ·5· · · ·A· · It is a complex protocol which is part of
·6· over SMS.· In using that code, the client can finish    ·6· what noise does, but it's essentially a key to
·7· the registration process.· And after that is            ·7· there.
·8· finished, the credentials are being admitted.           ·8· · · · · · So there's a public key and a private key.
·9· · · · · · But just to be clear, that identity key       ·9· The public key is what is sent to the server so the
10· that I was talking about is never seen by the           10· server can verify that the client is indeed who --
11· server.· It's the basis of the internal encryption.     11· who they claim they are.
12· So the identity key -- identity key is never -- does    12· · · · · · So there's multiple keys involved.· And
13· not -- does never leave the client device.              13· this protocol is fairly complex.· So I'm not an
14· · · ·Q· · I'm not sure that I followed all of that.     14· encryption expert, by the way, so I can talk to some
15· · · · · · The identity key is -- how does it arrive     15· aspects of it, but I don't know, like, the -- very
16· at the client device?                                   16· little details of, like, how -- how, like -- all the
17· · · · · · ATTORNEY BLOCK:· Objection to form.           17· steps involved and all the types of keys.· There are
18· · · ·A· · It is generated -- like, it is generated      18· multiple keys involved in this process.
19· locally by the client device before the registration    19· · · · · · But the idea is that the identity key is
20· starts and when someone installs the app on their       20· something that -- or the private key does never
21· phone.                                                  21· leave the client device.
22· · · ·Q· · (BY ATTORNEY WEINBERG) So the client          22· · · ·Q· · Okay.· So client device uses this private
23· creates its own identity key kind of like a private     23· key to obtain a negotiated key with a chatdserver
24· key?                                                    24· for each session?
25· · · · · · ATTORNEY BLOCK:· Object to form.              25· · · · · · ATTORNEY BLOCK:· Object to form.

                                                 Page 140                                                    Page 141
·1· · · ·A· · Yes.                                          ·1· chatdserver, the server then decrypts it using the
·2· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· And that        ·2· same shared key.
·3· negotiated key is what gets passed to -- from the       ·3· · · · · · How does it decide that it's an authentic
·4· client to the chatdserver upon each request to the      ·4· message?
·5· chatdserver?                                            ·5· · · · · · ATTORNEY BLOCK:· Object to form.
·6· · · ·A· · The shared key not passed.· The shared key    ·6· · · ·A· · It would not be able to decrypt the
·7· is only used an encryption key for the -- as a block    ·7· content.· And it would not pass all the -- the
·8· cipher encryption key for the traffic.                  ·8· checks on the -- so the -- basically, the -- there's
·9· · · · · · And the server uses that shared key to        ·9· a verification process that checks whether the --
10· decrypt the -- that payload.                            10· the message was tampered with, it was modified.
11· · · ·Q· · And that same shared key is used to           11· · · · · · And it will do all of that upon receival.
12· encrypt it?                                             12· The chatdserver will do that before using the
13· · · ·A· · By the client, yes.                           13· payload.
14· · · ·Q· · Okay.                                         14· · · ·Q· · (BY ATTORNEY WEINBERG) And that's just
15· · · ·A· · And this is only metadata, by the way.· It    15· based on the shared key?
16· does not include, like, the actual content of the       16· · · ·A· · Yes.
17· messages.· That's a different -- a different thing.     17· · · ·Q· · Okay.· You told us a moment ago about the
18· · · ·Q· · I'm sorry.· The key is used to encrypt        18· server locations for the chat features.· And I think
19· only metadata?                                          19· that you testified earlier today that the VoIP uses
20· · · ·A· · The -- yes, it's used to encrypt the data     20· the -- those chat servers.
21· that is sent between the client and the server over     21· · · · · · So I just want to confirm that the --
22· the Internet so that someone cannot just look at the    22· those server locations we discussed just now are for
23· traffic and understand what the client is talking       23· the -- are the servers being used for voice over IP.
24· with the server.                                        24· · · · · · ATTORNEY BLOCK:· Object to the form of the
25· · · ·Q· · When that message arrives at the              25· question.


                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 23 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 206..209
                                                 Page 206                                                    Page 207
·1· · · ·A· · What kind of server?                          ·1· can't be targeted by client requests, right?
·2· · · ·Q· · (BY ATTORNEY WEINBERG) Any server             ·2· · · · · · ATTORNEY BLOCK:· Object to form.
·3· physically located in California.                       ·3· · · ·Q· · (BY ATTORNEY WEINBERG) It's -- WhatsApp
·4· · · · · · ATTORNEY BLOCK:· Same objection.              ·4· decides to how to route the relay servers -- how to
·5· · · ·A· · Any server owned by Facebook?                 ·5· write requests to the relay servers?
·6· · · ·Q· · (BY ATTORNEY WEINBERG) Any server in          ·6· · · · · · ATTORNEY BLOCK:· Object to form.
·7· California owned by anybody.                            ·7· · · ·A· · So the signaling server picks the relay
·8· · · · · · The question is:· Does -- do Plaintiffs       ·8· servers from all the available edge locations.
·9· know about any server physically located in             ·9· · · ·Q· · (BY ATTORNEY WEINBERG) And the signaling
10· California that was specifically targeted by Pegasus    10· server is programmed by WhatsApp?
11· software?                                               11· · · ·A· · By -- yes.
12· · · · · · ATTORNEY BLOCK:· Objection to form.           12· · · ·Q· · And the user can't select the relay server
13· · · ·A· · The only thing that I know is that during     13· to use?
14· the attack that we observed, there were some servers    14· · · ·A· · The user can select the relay server.
15· located in the edge locations in the San Jose and       15· · · · · · What the signaling server does is selects
16· Los Angeles metro areas that were involved in those     16· from the hundred, it selects the top three or five.
17· attacks, relay servers.                                 17· · · · · · But ultimately any of the clients can
18· · · · · · That's the only thing -- the only             18· decide on each -- like, what relay server can you
19· information that I have.                                19· use from the set of three or five.
20· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· But do          20· · · ·Q· · And the relay servers, remind me, are
21· you --                                                  21· located in -- can you confirm that a user cannot
22· · · · · · ATTORNEY BLOCK:· Can we take a short          22· purposely direct requests at a particular relay
23· break?                                                  23· server?
24· · · · · · ATTORNEY WEINBERG:· Just one second.          24· · · · · · ATTORNEY BLOCK:· Object to form.
25· · · ·Q· · (BY ATTORNEY WEINBERG) The relay server       25· · · ·A· · That's not entirely correct.· So a user
                                                 Page 208                                                    Page 209
·1· a -- a client is given a lister of relays.              ·1· week or so before closing the vulnerability to see
·2· · · · · · And as part of the relay negotiation          ·2· if they could gain some insight into -- into the
·3· process, every client conducts all the relays they      ·3· incident; is that correct?
·4· were given.· But ultimately, the data packets that      ·4· · · · · · ATTORNEY BLOCK:· Object to form.
·5· are being sent is up in the decision of each client.    ·5· · · ·A· · Yes, we firstly detected the suspicious
·6· So they decide on their own which relay server to       ·6· activity.· I don't remember exactly the day. I
·7· use.                                                    ·7· think it was Thursday or Friday.
·8· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.                  ·8· · · · · · And the following Friday -- until the
·9· · · · · · ATTORNEY BLOCK:· Can we take that short       ·9· following Friday, we did logging of the activity of
10· break?                                                  10· the attack in order to gain an understanding of how
11· · · · · · ATTORNEY WEINBERG:· Sure.                     11· the attack works.
12· · · · · · THE VIDEOGRAPHER:· Off the record at          12· · · · · · ATTORNEY BLOCK:· I don't want to interrupt
13· 4:11 p.m.                                               13· you, but I probably should have done it before you
14· · · · · · (A break was taken from 4:11 p.m. to          14· started.· I thought you were going to go there
15· 4:30 p.m.)                                              15· first.
16· · · · · · THE VIDEOGRAPHER:· We were on the record      16· · · · · · As I mentioned to you off the record,
17· at 4:30 p.m.                                            17· during the break Mr. Gheorghe did some rereview of
18· · · ·Q· · (BY ATTORNEY WEINBERG) Thank you.             18· some of the prep that he did for his incorporate
19· · · · · · So just before we left off you were           19· representative topics, including with respect to
20· talking about the investigation that WhatsApp           20· QuadraNet, so I commend to you revisiting those
21· conducted for -- I guess it's about -- around the       21· topics when you wish to do so.
22· week of May 2, 2019?                                    22· · · · · · ATTORNEY WEINBERG:· All right.· Thank you.
23· · · ·A· · What investigation about the attack?          23· · · ·Q· · (BY ATTORNEY WEINBERG) If you could take a
24· · · ·Q· · The stanzaming investigation.· From what I    24· quick look at 1167.· That's Exhibit 1167.· It's the
25· understand, WhatsApp studied traffic for about a        25· stanzaming chat.· Just at page -- I'll remind you



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 24 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 210..213
                                                 Page 210                                                    Page 211
·1· that at the bottom of page 1, there was this --         ·1· · · · · · ATTORNEY BLOCK:· Object to form.
·2· actually, I guess, the -- yeah, at the top of page 2    ·2· · · ·A· · I haven't reviewed that "diff" for, like,
·3· where it says that the suspicious stanza received in    ·3· years, so I don't know about all the details in it,
·4· this incident was being sent on May 2, 2019.· That's    ·4· but it's likely a change that enforces the
·5· the second and third line of that.                      ·5· validation -- like, the blocking -- it does
·6· · · · · · So this instance sort of began it -- on       ·6· enforcement for the stanza validation --
·7· May 2, 2019, correct?                                   ·7· · · ·Q· · (BY ATTORNEY WEINBERG) Got it.
·8· · · ·A· · Yes.                                          ·8· · · ·A· · -- for the signaling server.
·9· · · ·Q· · And then if you go down to the next line      ·9· · · ·Q· · Understood.· And it says:
10· where you have got Joaquin speak -- writing on          10· · · · · · · · ·This can mitigate the impact,
11· Friday, May 3, at 4:49 a.m., he says:                   11· · · · · · but we would like to first identify
12· · · · · · · · ·Here is a "diff" -- with the             12· · · · · · the vulnerability, if there is,
13· · · · · · name of a "diff" -- that will                 13· · · · · · before modifying this.
14· · · · · · enforce our servers to only accept            14· · · · · · And so what he is saying there is:· Hey,
15· · · · · · valid stanzas.· This could mitigate           15· let's not push this valid -- this enforcement out to
16· · · · · · the impact, but we would like to              16· the server just yet; let's leave it open for a
17· · · · · · first identify the vulnerability,             17· while, observe some traffic, and see what we can
18· · · · · · if there is, before modifying this.           18· learn about this incident?
19· · · · · · My understanding of the "diff" in this        19· · · · · · Is that what you guys ended up doing?
20· context is that there's a code change that's            20· · · ·A· · Yes.· That is -- and by the way, this is
21· available to push to the server?                        21· an industry standard practice.· We're not -- like,
22· · · ·A· · That's exactly right.                         22· we're just following the process, basically.
23· · · ·Q· · And once that gets pushed to the server,      23· · · ·Q· · I see.
24· it will modify the servers to only accept valid         24· · · · · · So going through all these materials,
25· stanzas; is that correct?                               25· there were a lot of logs with different names.· And
                                                 Page 212                                                    Page 213
·1· I just want to go through some of them to figure out    ·1· chat server about -- at different points in handling
·2· which ones of them refer to what and whether there's    ·2· stanzas.
·3· repeats and -- just for nomenclature sake.              ·3· · · · · · So once the trace log -- it's a tool.
·4· · · ·A· · Sure.                                         ·4· It's an internal tool where we would, for a
·5· · · ·Q· · "Server trace logs," what does that           ·5· particular number, enable trace logs.· And we
·6· typically refer to in these documents?· And I can       ·6· would -- once that's enabled, we would see in
·7· show you a document, if you're confused about it,       ·7· realtime all the activity from that number
·8· but server trace logs.                                  ·8· throughout the chat servers.
·9· · · ·A· · Refreshing my memory right now, I think       ·9· · · ·Q· · Did you also have server trace logs for
10· server trace log -- can I see the document?· I think    10· the relay servers?
11· that'll be easier.                                      11· · · ·A· · Those are called differently.· Those are
12· · · ·Q· · Sure.· It's in 1105, the "stanza              12· called EdgeRay logs.
13· validation project task."                               13· · · ·Q· · EdgeRay logs.
14· · · · · · Let's see if I can find exactly where.· So    14· · · · · · And what kind of information is contained
15· May 4, 2019 is page 13 of the document.                 15· in the EdgeRay log?
16· · · ·A· · What page?· Sorry.                            16· · · ·A· · In the EdgeRay log, we did some custom
17· · · ·Q· · Page 13 of the document is -- there's a       17· logging regarding the source IP of the packet, the
18· comment by Jesus on May 4, 2019.· He says:              18· destination IP, the size of the packet, and the
19· · · · · · · · ·Adding server trace logs for             19· content of the packet, I believe.
20· · · · · · some number, sending the malicious            20· · · · · · We were changing that logging format quite
21· · · · · · stanza.                                       21· a lot, so I don't know off the top of my head, like,
22· · · · · · ATTORNEY BLOCK:· Object to form.              22· all the fields that we were logging.
23· · · ·Q· · (BY ATTORNEY WEINBERG) The question is:       23· · · · · · But at a high level, that's -- those are
24· What is the trace log?                                  24· the ones that I remember right now.
25· · · ·A· · The server trace log is a log from the        25· · · ·Q· · Okay.· Validation log?


                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 25 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 254..257
                                                 Page 254                                                    Page 255
·1· of the objects of using Pegasus was to read             ·1· misstates.
·2· information from the phone, including chat logs.        ·2· · · ·Q· · (BY ATTORNEY WEINBERG) I'll rephrase my
·3· · · · · · I'm asking if you're aware of the Pegasus     ·3· question.
·4· software deleting those logs.                           ·4· · · · · · Do you have any evidence that Pegasus
·5· · · ·A· · I'm not aware of a deletion.                  ·5· prevented WhatsApp from accessing the client logs --
·6· · · · · · ATTORNEY BLOCK:· And the same objections      ·6· devices as it normally would?
·7· to that question.                                       ·7· · · · · · ATTORNEY BLOCK:· Objection to form.
·8· · · ·Q· · (BY ATTORNEY WEINBERG) Are you aware of       ·8· · · ·A· · I'm not aware of any information related
·9· Pegasus offering -- altering those logs?                ·9· to this.
10· · · · · · ATTORNEY BLOCK:· Same objections.· Vague.     10· · · ·Q· · (BY ATTORNEY WEINBERG) Do you have any
11· · · ·A· · I'm not aware.                                11· evidence that Pegasus prevented WhatsApp users from
12· · · ·Q· · (BY ATTORNEY WEINBERG) Does WhatsApp own      12· using their -- the WhatsApp service?
13· those logs?                                             13· · · · · · ATTORNEY BLOCK:· I object to form and
14· · · · · · ATTORNEY BLOCK:· Objection to form and        14· scope, partial.
15· scope.                                                  15· · · ·A· · What was the question again?
16· · · ·A· · I'm not an expert into, like, the Terms of    16· · · ·Q· · (BY ATTORNEY WEINBERG) Do you have any
17· Service and what data WhatsApp owns and what not, so    17· evidence that Pegasus prevented -- I'm sorry.
18· I don't -- I cannot speak to that.                      18· · · · · · ATTORNEY WEINBERG:· Would you read back
19· · · ·Q· · (BY ATTORNEY WEINBERG) Do you have any        19· the question for me?
20· evidence that Pegasus prevented WhatsApp from           20· · · · · · (The court reporter read back the
21· accessing the client devices as it normally would?      21· following testimony:
22· · · · · · I think you testified earlier that            22· · · · · · · · ·Do you have any evidence that
23· WhatsApp was able to send messages to the client        23· · · · · · Pegasus prevented WhatsApp users
24· devices, pull logs, that kind of thing?                 24· · · · · · from using their -- the WhatsApp
25· · · · · · ATTORNEY BLOCK:· Object to form;              25· · · · · · service?)
                                                 Page 256                                                    Page 257
·1· · · · · · ATTORNEY BLOCK:· Same objections.             ·1· this -- the attack from the point of view of the
·2· · · ·A· · What do you mean by "the WhatsApp service"    ·2· victim, like, if you receive some messages from the
·3· in this case?                                           ·3· server that are passed and those servers are
·4· · · ·Q· · (BY ATTORNEY WEINBERG) WhatsApp provided a    ·4· supposed to be sent by a legitimate client and they
·5· VoIP service that allowed users to make telephone       ·5· all seem -- they were supposed to be doing not what
·6· calls and video calls, and that's the service I'm       ·6· -- what they were doing.
·7· referring to.                                           ·7· · · · · · So in our -- the way we think about it in
·8· · · · · · ATTORNEY BLOCK:· Same objections.             ·8· this trust model, the server is a trusted entity,
·9· · · ·A· · So I'm -- I'm a little confused by this       ·9· and it was -- so basically this attack made the
10· question.· Like, I don't understand, like, how --       10· server forward some messages that would normally not
11· like, how would Pegasus not allow users to use VoIP     11· be sent by a regular client.
12· and not allow access to VoIP services?                  12· · · · · · So that -- that actually -- I think I
13· · · ·Q· · (BY ATTORNEY WEINBERG) I guess I'm not        13· would say that breaks the WhatsApp service.
14· sure about your clarification question there.           14· · · ·Q· · (BY ATTORNEY WEINBERG) I didn't mean in a
15· · · · · · You could imagine that you get some sort      15· metaphysical way.· I meant in a technological way,
16· of virus on your phone which prevents you from          16· WhatsApp's VoIP service was still accessible to any
17· making phone calls using WhatsApp.· Right?              17· user that --
18· · · · · · Did Pegasus do that?                          18· · · ·A· · In a technological way, they were causing
19· · · ·A· · I don't have any information about that.      19· crashes.· So their -- the victim's application would
20· · · ·Q· · Just generally, did Pegasus cause             20· crash in many of the cases of the attack.
21· WhatsApp's service to break?· That's --                 21· · · · · · I think that is very clear evidence that
22· · · · · · ATTORNEY BLOCK:· Objection to form.           22· in a technological way, they were impairing our
23· · · ·A· · Cause to break?                               23· service.
24· · · · · · I would say yes.· Because normally, like,     24· · · ·Q· · So the extent of the impaired service
25· in a regular -- like, if you see -- if you see          25· would be that during a failed installation,



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 26 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 258..261
                                                 Page 258                                                    Page 259
·1· sometimes there would be a crash?                       ·1· of how you design secure systems.· It's the trust
·2· · · · · · ATTORNEY BLOCK:· Object to form; misstates    ·2· model of your system.
·3· testimony.                                              ·3· · · · · · ATTORNEY WEINBERG:· All right.· Can we
·4· · · ·A· · I think that's one evidence how they were     ·4· take a short break?· Is that all right with you
·5· impairing the service, but that was just an example,    ·5· guys?
·6· but...                                                  ·6· · · · · · ATTORNEY BLOCK:· Yeah.
·7· · · ·Q· · (BY ATTORNEY WEINBERG) Well, impairing the    ·7· · · · · · THE VIDEOGRAPHER:· 6:02 p.m.
·8· trust in the service might be a different category.     ·8· · · · · · (A break was taken from 6:02 p.m. to
·9· I'm just kind of speaking from a technical              ·9· 6:19 p.m.)
10· perspective.                                            10· · · · · · THE VIDEOGRAPHER:· We are on the record at
11· · · · · · Did the service still provide voice           11· 6:19 p.m.
12· services which allowed WhatsApp users to communicate    12· · · ·Q· · (BY ATTORNEY WEINBERG) All right.· Do we
13· with one another across long distances?                 13· have Exhibit 1106 out already?· I would like to
14· · · · · · ATTORNEY BLOCK:· I object to the preamble     14· direct your attention to page 7 of this.
15· of the question, and I object to the form of the        15· · · ·A· · Would you confirm the number at the
16· question that followed.· And --                         16· bottom?
17· · · ·A· · Just to --                                    17· · · ·Q· · Yeah.· It's 115245.
18· · · · · · ATTORNEY BLOCK:· -- it --                     18· · · ·A· · All right.
19· · · ·A· · -- be clear, I'm using "trust" here in a      19· · · ·Q· · There's an exchange here where Andrew
20· very technical manner.· Trust is an important aspect    20· Stephen Robinson writes at 13:44:15, the time -- he
21· of designing secure systems.                            21· says:
22· · · · · · And like, having a trust model in your        22· · · · · · · · ·So digging through the logs
23· system influences a lot, like, the security of the      23· · · · · · for testing you guys -- for
24· system.· So I'm not using it in a metaphorical sense    24· · · · · · testing, are you guys using
25· or in any way.· Trust is a big -- an important part     25· · · · · · emulated devices which can't reach
                                                 Page 260                                                    Page 261
·1· · · · · · out to the Internet?· Because I'm             ·1· trying to repo to see how the attack works.· And as
·2· · · · · · seeing actual commands with                   ·2· part of that, some of the engineers would take one
·3· · · · · · malicious C2s in the payloads                 ·3· of the malicious payloads that we found, and they
·4· · · · · · between test numbers.                         ·4· would essentially try to put that in their test
·5· · · · · · And then YuanYuan Wang responds, and          ·5· devices and tried to simulate how the exploit works.
·6· afterwards Andrew Stephen Robinson responds:            ·6· · · · · · And Andrew Robinson is concerned here
·7· · · · · · · · ·My concern is that you popped            ·7· because "popping themselves" means that they would
·8· · · · · · yourselves.                                   ·8· actually execute the malicious code on their test
·9· · · · · · What do you understand to be this concern     ·9· devices that would essentially infect them and
10· about the researchers here, quote, popping              10· successfully contact the C2 servers.
11· themselves?· What does that mean?                       11· · · · · · And that is a breach -- "popping
12· · · · · · ATTORNEY BLOCK:· I'll object to having        12· themselves" in this context means that you have
13· omitted YuanYuan's statement in your preamble.· And     13· breached -- like, you let the attacker that you
14· I object to scope.                                      14· found out about them.
15· · · · · · But you can answer, to the extent you         15· · · · · · So it would -- would completely compromise
16· understand.                                             16· the investigation in that case, so we had to operate
17· · · ·A· · Where is the comment that says "popping       17· at a very silent level where we couldn't let the
18· themselves"?                                            18· attacker know at all that we found out about this
19· · · ·Q· · (BY ATTORNEY WEINBERG) It's at -- the         19· attack in any means -- by any means.
20· comment at 13:47:43.· It says:                          20· · · · · · And I think that's what he means by
21· · · · · · · · ·My concern is you popped                 21· "popping themselves" in this case.· Like, reveal to
22· · · · · · yourselves.                                   22· the attacker that we found the malicious payload.
23· · · ·A· · Yeah, so I think I know what's going on       23· · · ·Q· · And so in these instances, some engineers
24· here.                                                   24· were executing the suspicious offer stanzas --
25· · · · · · As part of the investigation, we were         25· · · ·A· · On their own devices.



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 27 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 270..273
                                                 Page 270                                                    Page 271
·1· of the C2 servers was located on AW -- was hosted by    ·1· remediation of the attack entailed three fixes.· Two
·2· AWS.· And we tried to reach out to AWS to give us       ·2· of them were server side, and one of them --
·3· whatever they had on that machine that had that IP.     ·3· · · ·Q· · Two server side?
·4· · · · · · I don't know what he means by "payload" in    ·4· · · ·A· · -- two server-side fixes and one client
·5· this case.· Payload is kind of a generic name, so I     ·5· side fix that was rolled out with all the
·6· don't know what he means by "payload."· But that's      ·6· applications, all the platforms that use WhatsApp,
·7· what I know that we tried to get from AWS.              ·7· the Android, iPhone, whatever.· Like, all the
·8· · · ·Q· · (BY ATTORNEY WEINBERG) I would presume        ·8· phones.
·9· that the payload from a C2 server is whatever it is     ·9· · · ·Q· · The client-side fixes were for Android and
10· that the C2 server is programmed to deliver to a        10· iPhone?
11· client, right?                                          11· · · ·A· · Yes.· It was a cross -- cross-platform
12· · · · · · ATTORNEY BLOCK:· Object to form; calls for    12· fix.· It was the same fix that would apply to both
13· speculation.                                            13· platforms.
14· · · ·A· · Yeah, I don't know what he meant.             14· · · ·Q· · Okay.· So the vulnerability on the client
15· · · ·Q· · (BY ATTORNEY WEINBERG) All right.· All        15· was both an Android and an iOS exploit?
16· right.· So just about the fixes then.                   16· · · · · · ATTORNEY BLOCK:· Object to form.
17· · · · · · In this document, do you see on page --       17· · · ·A· · So the vulnerability was in the C code
18· the second page in that same Aby John comment that      18· responsible for handling voice and video calling
19· we just spoke about, it discusses server fixes and      19· logic, and it was the same code running on both of
20· client fixes.                                           20· these platforms.
21· · · · · · So can you tell me about the remediation      21· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· Did WhatsApp
22· work that WhatsApp did in response to this -- to        22· have any evidence that any iOS devices were
23· this incident?                                          23· compromised using this vulnerability?
24· · · ·A· · Yeah, I can talk about that.                  24· · · ·A· · From what I remember, yes, we had some
25· · · · · · So the remediation -- the immediate           25· iOS -- some samples of the attacks that were

                                                 Page 272                                                    Page 273
·1· targeting iOS devices, but a majority of the            ·1· server-side fix -- sorry -- the client-side fix, you
·2· samples, from what I remember, was all Android.         ·2· rolled out an update to the Android Google store?
·3· · · ·Q· · I'll have you take a look at Exhibit 1119.    ·3· · · ·A· · The Play Store.
·4· · · · · · (Exhibit 1119 was marked for                  ·4· · · ·Q· · The Play Store; is that correct?
·5· identification and is attached to the transcript.)      ·5· · · ·A· · Yes.
·6· · · ·A· · Yeah.                                         ·6· · · · · · ATTORNEY BLOCK:· Objection to form.
·7· · · ·Q· · (BY ATTORNEY WEINBERG) Just -- my only        ·7· Sorry.· Belated.
·8· questions on this is:· This is a WorkChat that you      ·8· · · ·Q· · (BY ATTORNEY WEINBERG) Did you send the
·9· received on May 14, 2019?                               ·9· same update to the Apple Store -- App Store?
10· · · ·A· · Yeah.                                         10· · · · · · ATTORNEY BLOCK:· Objection to form.
11· · · ·Q· · I think that's it.                            11· · · ·A· · Yes, we did.
12· · · ·A· · Okay.                                         12· · · ·Q· · (BY ATTORNEY WEINBERG) Tell me about the
13· · · ·Q· · What was the client-side fix that you         13· server-side fixes.
14· talked about?                                           14· · · ·A· · The first fix we rolled out on the server
15· · · ·A· · The client-side fix was preventing the        15· side was for the relay.· And we rolled that out on
16· buffer overflow that was used in the remote code        16· Friday.· I don't remember the actual date, that
17· execution.                                              17· week.
18· · · · · · So we limited the buffer size sent -- that    18· · · ·Q· · Okay.· So what did you do to the relay
19· is sent from the remote end.· We limited it to the      19· server --
20· size of the buffer that we have locally.· So after      20· · · ·A· · The relay server --
21· that fix, memory corruption could not occur anymore.    21· · · ·Q· · -- software?
22· · · ·Q· · Was the buffer overflow vulnerability in a    22· · · ·A· · -- sorry?
23· piece of third-party software?                          23· · · ·Q· · The relay server software.
24· · · ·A· · No.                                           24· · · ·A· · Yes.· So the relay server fix was about
25· · · ·Q· · And you -- to roll out this                   25· limiting the messages that were used, the SRTPSR and



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 28 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 274..277
                                                 Page 274                                                    Page 275
·1· RR.                                                     ·1· temporary change that we made only for this.· We
·2· · · · · · The messages that were used to do -- to       ·2· pulled it out after we rolled out the client fix.
·3· exploit the buffer overflow were being kept and         ·3· We did it just to break their exploit, basically.
·4· dropped by the -- by the server.· So a normal           ·4· · · · · · From a protocol perspective, the
·5· WhatsApp application would not send these really        ·5· message -- like, you -- it wasn't -- it was just
·6· large SR and RR SRTP packets.· So it was very easy      ·6· very -- something very specific that only those
·7· for us to identify the ones sent by a malicious --      ·7· clients were sending, so that's why we could do it.
·8· by a fake client.                                       ·8· · · ·Q· · And in that respect, the change to the
·9· · · · · · In this case it was the fake client that      ·9· relay server created an additional barrier to -- to
10· was attacking the victim, so it was very easy for us    10· the exploit that didn't exist before; so it,
11· to basically put some logic in place that would         11· therefore, enhanced the security of the relay server
12· basically -- that would just drop those SRTPRR          12· beyond what it was?
13· messages.                                               13· · · ·A· · It -- it did not enhance the security of
14· · · · · · And as an effect, we observed immediately     14· the relay server at all.· It -- the only reason why
15· a different behavior in the pattern of the attacks,     15· we put that change is to break that specific
16· so we knew for sure that -- that we -- we broke         16· exploit, yes.
17· their exploit.                                          17· · · ·Q· · Did the change restore the server to a
18· · · · · · It seemed kind of like it was broken, but     18· previous condition?
19· it wasn't clear.· It seemed broken, but it wasn't       19· · · · · · ATTORNEY BLOCK:· Objection to form.
20· clear that we actually found it.· And we did it --      20· · · ·A· · Restore the server to a previous
21· that intentionally to monitor their behavior.           21· condition?· I'm not sure what that means.
22· · · ·Q· · So this change to the relay server            22· · · ·Q· · (BY ATTORNEY WEINBERG) The client-side
23· enhanced the security of the relay server beyond        23· vulnerability, I think that's the one that was
24· what it was before the fix?                             24· reported in the CVE, right?
25· · · ·A· · No, it did not.· It was actually a            25· · · · · · ATTORNEY BLOCK:· Object to form.
                                                 Page 276                                                    Page 277
·1· · · ·A· · What CVE?                                     ·1· · · · · · number.· The issue affects WhatsApp
·2· · · ·Q· · (BY ATTORNEY WEINBERG) It's this -- the       ·2· · · · · · for Android prior to
·3· number is listed on the White Paper, if you want to     ·3· · · · · · Version 2.19.134, WhatsApp Business
·4· look at it, but CVE-2019-3568.                          ·4· · · · · · for Android prior to
·5· · · ·A· · Can I get that?                               ·5· · · · · · Version 2.19.44, WhatsApp for iOS
·6· · · ·Q· · And 1148 is the exhibit number.               ·6· · · · · · prior to Version 2.19.51, and so
·7· · · · · · ATTORNEY BLOCK:· You're looking for --        ·7· · · · · · on.
·8· · · ·A· · Yeah, got it.· 3568.· Yes, that's the one.    ·8· · · · · · All right.· So this only refers to the
·9· · · ·Q· · (BY ATTORNEY WEINBERG) So just for the        ·9· client-side vulnerability, right?· And this -- this
10· record, you have identified the same CVE number on      10· CVE refers to the client-side vulnerability?
11· the CVE list at Exhibit 1163?                           11· · · · · · ATTORNEY BLOCK:· Object to form.
12· · · ·A· · Yes.                                          12· · · ·A· · Yes.
13· · · ·Q· · So this says that the buffer overflow --      13· · · ·Q· · (BY ATTORNEY WEINBERG) And that
14· I'm looking at Exhibit 1163 at page 4.· And I am        14· vulnerability existed in WhatsApp's code as WhatsApp
15· looking at the entry here for CVE-2019-3568.            15· wrote the code, right?
16· · · · · · And that's the vulnerability that was         16· · · · · · ATTORNEY BLOCK:· Objection to form.
17· closed with the client-side fix, right?                 17· · · ·A· · So the way -- the way I look at the
18· · · ·A· · Yes.                                          18· vulnerability is it's a -- the vulnerability exists
19· · · ·Q· · So this is -- the description of that         19· in the moment when you have an attack that exploits
20· vulnerability, it says:                                 20· it.
21· · · · · · · · ·A buffer overflow                        21· · · ·Q· · (BY ATTORNEY WEINBERG) I don't know if
22· · · · · · vulnerability in WhatsApp VoIP                22· that's right.· What's the difference between a
23· · · · · · stack allowed remote code execution           23· vulnerability and an exploit?
24· · · · · · via a specially crafted series of             24· · · · · · ATTORNEY BLOCK:· Objection to form; scope.
25· · · · · · RTCP packets sent to a target phone           25· · · ·Q· · (BY ATTORNEY WEINBERG) Isn't it the case



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH           Document 422-2            Filed 10/11/24      Page 29 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                    Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 278..281
                                                 Page 278                                                    Page 279
·1· that a vulnerability is a potential for                 ·1· · · · · · ATTORNEY BLOCK:· Huh?
·2· exploitation, and an exploit is when the                ·2· · · ·A· · They're just flaws.· The moment you build
·3· vulnerability is actually exploited?                    ·3· an attack --
·4· · · · · · ATTORNEY BLOCK:· Objection to form; and       ·4· · · · · · ATTORNEY BLOCK:· Can you just let the
·5· scope.                                                  ·5· witness finish his answer before you interrupt?
·6· · · ·A· · So the way I see a vulnerability is in --     ·6· · · · · · ATTORNEY WEINBERG:· He paused.
·7· like, that exists in the moment you have an attack      ·7· · · ·Q· · (BY ATTORNEY WEINBERG) Go ahead.
·8· that -- that uses it.                                   ·8· · · ·A· · So there's always going to be flaws in --
·9· · · ·Q· · (BY ATTORNEY WEINBERG) Don't you have a       ·9· in the software.· Like, it's always there.· There's
10· vulnerability the moment you write a code that has a    10· always -- any software that exists today has some
11· vulnerability?                                          11· flaws in it.
12· · · · · · Like, if I make a fence and the fence has     12· · · · · · The moment that becomes a vulnerability
13· a gap in it, the fence has a vulnerability.· And if     13· and becomes relevant is when someone is able to
14· somebody walks through that fence -- that gap in the    14· exploit it and have an attack that uses it.
15· fence, that's -- that's an exploit of the               15· · · · · · Until then, it's -- it's just software.
16· vulnerability?                                          16· · · ·Q· · (BY ATTORNEY WEINBERG) Okay.· I think we
17· · · ·A· · No, I don't --                                17· are just having a semantic discussion.· So we want
18· · · · · · ATTORNEY BLOCK:· Object to -- sorry.          18· to call the hole in the software that is
19· Objection to form; scope; vagueness; incomplete         19· exploitable, a flaw?
20· hypothetical, et cetera.                                20· · · · · · ATTORNEY BLOCK:· Objection to form.
21· · · ·A· · -- yeah, I don't agree with that.             21· · · ·A· · I think a vulnerability is -- is a flaw.
22· · · · · · So software has virtually, like, always       22· My point is that an attack is the one that validates
23· some flaws in it.                                       23· that you can use that flaw to do something bad with
24· · · ·Q· · (BY ATTORNEY WEINBERG) What would you call    24· it.
25· those flaws?                                            25· · · ·Q· · (BY ATTORNEY WEINBERG) And I guess my only
                                                 Page 280                                                    Page 281
·1· question is that:· That flaw existed in WhatsApp's      ·1· · · ·A· · -- on the client, yes.· They changed the
·2· software as WhatsApp wrote it, right?· It wasn't        ·2· WhatsApp client on -- they changed the WhatsApp code
·3· created by anybody else?                                ·3· running on the victim's phone.
·4· · · · · · ATTORNEY BLOCK:· Objection to form.           ·4· · · ·Q· · But the flaw or vulnerability they used to
·5· · · ·A· · So we -- we wrote the software for the        ·5· do that, which is the vulnerability disclosed at
·6· VoIP stack having in mind all the -- like, we           ·6· CVE-2019-3568, was a vulnerability that existed in
·7· designed it and we wrote it, assuming that the          ·7· WhatsApp's code as WhatsApp had released it?
·8· messages being sent are a part of the WhatsApp          ·8· · · · · · ATTORNEY BLOCK:· Objection to form.· It's
·9· network and that they're official clients built by      ·9· asked and answered.· And I think it's time to move
10· the WhatsApp team.                                      10· on.
11· · · · · · So with that regards, there was no flaw.      11· · · · · · ATTORNEY WEINBERG:· All right.· Let's go
12· Voice calling was working perfectly fine.               12· off the record for a bit.
13· · · ·Q· · (BY ATTORNEY WEINBERG) Nobody changed         13· · · · · · THE VIDEOGRAPHER:· It's 6:59 p.m.
14· WhatsApp's code, right?                                 14· · · · · · (A break was taken from 6:59 p.m. to
15· · · · · · ATTORNEY BLOCK:· Object to form.              15· 7:06 p.m.)
16· · · ·Q· · (BY ATTORNEY WEINBERG) No -- pegasus          16· · · · · · THE VIDEOGRAPHER:· Back on the record at
17· didn't change WhatsApp's code, correct?                 17· 7:06 p.m.
18· · · ·A· · I --                                          18· · · ·Q· · (BY ATTORNEY WEINBERG) All right.· You
19· · · · · · ATTORNEY BLOCK:· Object to form and scope.    19· said that there were two server changes that were
20· · · ·A· · -- I actually don't agree with that.          20· precipitated by this.· The first one was this relay
21· Because they changed the memory layout of the           21· server change.
22· application and they actually did change the            22· · · · · · What was the second?
23· WhatsApp code.                                          23· · · ·A· · The second fix was on the signaling server
24· · · · · · They made the --                              24· that enforced the validation of the stanza -- of the
25· · · ·Q· · (BY ATTORNEY WEINBERG) On the client?         25· offer stanzas and dropped them.



                                             Swivel Legal Solutions
                                      800.540.9099· |· www.swivellegal.com                                              YVer1f
       Case 4:19-cv-07123-PJH                Document 422-2              Filed 10/11/24           Page 30 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                                 Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                                Pages· 294..295
                                                        Page 294                                                         Page 295
·1· · · ·I, MARY J. GOFF, CSR No. 13427, Certified                 ·1· · · · · · · · · · · ERRATA SHEET
·2· Shorthand Reporter of the State of California,                 ·2· · · · · · · · · · · SWIVEL LEGAL
·3· certify;                                                       ·3· · · · · · · · ·560 W Main Street, C163
·4· · · ·That the foregoing proceedings were taken                 ·4· · · · · · · ·Alhambra, California 91801
·5· before me at the time and place herein set forth, at           ·5· · · · · · · · · · · 213-788-2327
·6· which time the witness declared under penalty of               ·6· · · · · · · CASE:· WhatsApp v. NSO Group
·7· perjury; that the testimony of the witness and all             ·7· PAGE· LINE· FROM· · · · · · · · · · · TO
·8· objections made at the time of the examination were            ·8· ____|______|_________________________|______________
·9· recorded stenographically by me and were thereafter
                                                                   ·9· ____|______|_________________________|______________
10· transcribed under my direction and supervision; that
                                                                   10· ____|______|_________________________|______________
11· the foregoing is a full, true, and correct
                                                                   11· ____|______|_________________________|______________
12· transcript of my shorthand notes so taken and of the
                                                                   12· ____|______|_________________________|______________
13· testimony so given;
                                                                   13· ____|______|_________________________|______________
14· · · ·That before completion of the deposition,
                                                                   14· ____|______|_________________________|______________
15· review of the transcript ( ) was (XX) was not
                                                                   15· ____|______|_________________________|______________
16· requested:· ·(· ·) that the witness has failed or
                                                                   16· ____|______|_________________________|______________
17· refused to approve the transcript.
                                                                   17· ____|______|_________________________|______________
18· · · ·I further certify that I am not financially
                                                                   18
19· interested in the action, and I am not a relative or
                                                                   19· · · · · ______________________________
20· employee of any attorney of the parties, nor of any
21· of the parties.                                                20· · · · · CLAUDIU GHEORGHE

22· · · ·I declare under penalty of perjury under the              21· Subscribed and sworn to before me

23· laws of California that the foregoing is true and              22· this _____ day of _____________, 2024.

24· correct, dated this· · day of· · · ·, 2024.                    23· ______________________________________
25· · · · · · · ·_________________________                         24· · · · · · Notary Public
· · · · · · · · ·MARY J. GOFF                                      25




                                                Swivel Legal Solutions
                                         800.540.9099· |· www.swivellegal.com
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 31 of 113




                EXHIBIT 4
            Case 4:19-cv-07123-PJH          Document 422-2       Filed 10/11/24   Page 32 of 113
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3326
     JESUS PALAU on 09-13-2024                 {{Attorneys Eyes Only}}                              Page 1  YVer1f




                                                                                                   Page 1
·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · · OAKLAND DIVISION

·4· · · · · · · · · · · · · ·--oOo--

·5

·6· WHATSAPP INC., a Delaware corporation,
· · and FACEBOOK, INC., a Delaware
·7· corporation,

·8· · · · · · Plaintiffs,
· · v.· · · · · · · · · · · · · ·Case No.· 4:19-cv-07123-PJH
·9
· · NSO GROUP TECHNOLOGIES LIMITED
10· and Q CYBER TECHNOLOGIES LIMITED,

11· · · · · · Defendants.
· · ______________________________________/
12

13· · · · · · **HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY**

14· · · · · · ·STENOGRAPHIC REPORTER'S VIDEOTAPED

15· · · · · · · · · ·DEPOSITION TRANSCRIPT OF

16· · · · · · · · · · · JESUS BARCONS PALAU

17· · · · · · · · · · · FRIDAY, SEPTEMBER 13, 2024

18

19

20· Reported Stenographically by:

21· KIMBERLY D'URSO, CSR 11372, RPR

22· Job No.· 3326

23

24

25
       Case 4:19-cv-07123-PJH               Document 422-2            Filed 10/11/24         Page 33 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                             Job 3326
JESUS PALAU on 09-13-2024                 {{Attorneys Eyes Only}}                                              Pages· 86..89    YVer1f




                                                      Page 86                                                         Page 87
·1· · · · · · THE WITNESS:· It seems that perhaps I had         ·1· · · · · · (Reporter clarification.)
·2· something in mind to start executing on it.                 ·2· BY MR. AKROTIRIANAKIS:
·3· BY MR. AKROTIRIANAKIS:                                      ·3· · · ·Q.· ·Canaried.
·4· · · ·Q.· ·Okay.· Was this a document that you reviewed      ·4· · · ·A.· ·So it seems at that date, I change the task
·5· ·yesterday, by the way?                                     ·5· ·from "planned" to in "progress."· Again, I was not very
·6· · · · · · MR. BLOCK:· Objection.                            ·6· ·disciplined in keeping subscribers up-to-date.
·7· · · · · · THE WITNESS:· I think --                          ·7· · · · · · And at that point, on March 22, 2019, I already
·8· · · · · · MR. BLOCK:· Hang on one second.                   ·8· ·have the two pieces that were important to do stanza
·9· · · · · · In light of the 30(b)(6), I'm going to let it     ·9· ·validation.· One is a validation engine of sorts, you
10· go.                                                         10· ·can think of.· And then the other piece is the schema
11· · · · · · You can answer.                                   11· ·defined for some of the stanzas, actually one stanza,
12· · · · · · THE WITNESS:· I think so.                         12· ·which is the relaylatency.
13· BY MR. AKROTIRIANAKIS:                                      13· · · · · · In this schema, I indicate exactly what the
14· · · ·Q.· ·Okay.· All right.· Going over to the next page,   14· ·relaylatency stanza should have, which fields, which
15· ·5, of Exhibit 1105, you do an entry that says:             15· ·ones are optional, the range of values that we expect,
16· ·"Currently chatd.atn is validating relaylatency" -- one    16· ·all these sort of things.
17· ·word -- "stanza."                                          17· · · · · · With that, any stanza that comes from a client
18· · · · · · Do you see that?                                  18· hitting that particular --
19· · · ·A.· ·Yes.                                              19· · · · · · (Reporter clarification.)
20· · · ·Q.· ·What does that mean?                              20· · · · · · THE WITNESS:· -- machine server,
21· · · ·A.· ·It seems at that time I already had code in       21· chatd555.atn -- I can go -- I can explain later what this
22· ·place, which means that I was not very disciplined to      22· means -- so any client stanza -- any relaylatency stanza
23· ·actually update the task to "in progress."· It seems       23· being sent by clients would be validated using the
24· ·that to have code in place, it was already being           24· validation engine and the schema that I define.
25· ·canaried.                                                  25· · · · · · Based on that logic, we would have two

                                                      Page 88                                                         Page 89
·1· outcomes:· Either the stanza is valid or it's not valid.    ·1· ·by the term "validation" or "validating" in this
·2· · · · · · And depending on those outcomes, what I'm doing   ·2· ·particular context; correct?
·3· is I'm incrementing counters of valid, non-valid stanzas    ·3· · · · · · MR. BLOCK:· Object to form.
·4· for that particular one that are regulated in a permanent   ·4· · · · · · THE WITNESS:· Yes.· Validating stanzas,
·5· basis and reported to some internal tools that we use to    ·5· validating these relay latency stanza.
·6· visualize data.                                             ·6· BY MR. AKROTIRIANAKIS:
·7· · · · · · On the chatd555, so this is the place where I     ·7· · · ·Q.· ·You were going to tell us what chatd555.atn is.
·8· was canarying the changes.· You see, when he we make        ·8· · · ·A.· ·That's true -- apologies.· I forgot about that.
·9· changes on the code, we don't deploy it to all the          ·9· · · · · · So we name our servers in this way.· What you
10· machines at once, that if something goes wrong it can be    10· ·see first is chatd.· We have type of servers that we
11· terribly wrong in a very large scale.· So we want to        11· ·call them "chatd."· We are micro service-oriented, so we
12· first make sure that our changes work on a single           12· ·split responsibilities and business logic across
13· machine, so if something goes wrong, it's just a single     13· ·different back ends, across different services.
14· machine that suffers the consequences, not the entire       14· · · · · · Chat is the one -- or chatd is the service that
15· fleet.                                                      15· ·clients connect to.· And it'S responsible for the
16· BY MR. AKROTIRIANAKIS:                                      16· ·connection lifecycle and protocol and also doing message
17· · · ·Q.· ·And that process of testing changes on a single   17· ·routing.
18· ·machine is what is called "canarying"; is that right?      18· · · · · · The 555 that we see after that -- or actually,
19· · · ·A.· ·That's the word that we use, at least in          19· ·let's forget the 555.· Let's look at the ATN.· We're
20· ·internally.                                                20· ·running different data centers.· ATN is the three letter
21· · · ·Q.· ·Do you know what the origin of that is?           21· ·acronym that is -- that is built in Altoona.· I don't
22· · · ·A.· ·Perhaps bringing a canary in the coal mine.       22· ·recall which state.
23· · · ·Q.· ·That would have been my guess.                    23· · · · · · And then the 555 is just a number, so we number
24· · · · · · All right.· Now, this process of determining if   24· ·all our machines between 0 and N.· Perhaps we have like
25· ·a stanza is either valid or not valid is what is meant     25· ·a thousand or so machines at that time, that they were



                                                Swivel Legal Solutions
                                         800.540.9099· |· www.swivellegal.com                                                   YVer1f
       Case 4:19-cv-07123-PJH               Document 422-2            Filed 10/11/24         Page 34 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                             Job 3326
JESUS PALAU on 09-13-2024                 {{Attorneys Eyes Only}}                                              Pages· 90..93    YVer1f




                                                      Page 90                                                         Page 91
·1· ·chatd.atn.· And 555 was the number that I chose for some   ·1· · · ·Q.· ·Okay.· But the chatd server is sort of like the
·2· ·reason.                                                    ·2· ·"gateway" of sorts; is that fair?
·3· · · ·Q.· ·All right.· The 555 here is not particularly      ·3· · · · · · MR. BLOCK:· Objection to form.
·4· ·meaningful to what you were doing in this task?            ·4· · · · · · THE WITNESS:· Chatd is the server that clients
·5· · · · · · MR. BLOCK:· Objection to form.                    ·5· connect to.
·6· · · · · · THE WITNESS:· I don't think I had any             ·6· BY MR. AKROTIRIANAKIS:
·7· sentimental attachment to this number.· It's just one       ·7· · · ·Q.· ·It would be the first serve that clients
·8· that I chose.                                               ·8· ·connect to?
·9· BY MR. AKROTIRIANAKIS:                                      ·9· · · · · · MR. BLOCK:· Objection to form.
10· · · ·Q.· ·All right.· I want to ask you something about     10· BY MR. AKROTIRIANAKIS:
11· ·this answer that you just gave.· Chatd is the service      11· · · ·Q.· ·And the only server that clients connect to?
12· ·that clients connect to; correct?                          12· · · · · · MR. BLOCK:· Objection to form.
13· · · ·A.· ·That is correct.                                  13· · · · · · THE WITNESS:· You see the connection lifecycle
14· · · ·Q.· ·And chatd is responsible for the connection       14· is a little complicated.· If you want I, can walk you
15· ·lifecycle for the client; correct?                         15· through it.
16· · · ·A.· ·That's correct.· When the application --          16· BY MR. AKROTIRIANAKIS:
17· ·WhatsApp application connects to the servers, they         17· · · ·Q.· ·Well, I would appreciate that.· But can you
18· ·connect to WhatsApp -- they connect to chatd, yes.         18· ·answer my question first, or are you unable to
19· · · ·Q.· ·And from chatd, the message routing goes on       19· ·understand my question?
20· ·from there; correct?                                       20· · · · · · MR. BLOCK:· Objection to form.
21· · · · · · MR. BLOCK:· Objection to form.                    21· · · · · · THE WITNESS:· The thing is that you expect a
22· · · · · · THE WITNESS:· Chatd responsible -- Chatd has      22· yes-or-no answer to a question that is more nuanced than
23· multiple responsibilities.· One of them is message          23· that.
24· routing, yes.                                               24· BY MR. AKROTIRIANAKIS:
25· BY MR. AKROTIRIANAKIS:                                      25· · · ·Q.· ·Okay.· There are some pictures in her later

                                                      Page 92                                                         Page 93
·1· ·that we're going to get to that might help the             ·1· · · ·A.· ·Forest City sounds better than -- yeah.· Thank
·2· ·explanation.· Okay?· So why don't we save the              ·2· ·you for that.
·3· ·explanation.· Let me ask another question.                 ·3· · · ·Q.· ·Okay.· Altoona, Forest City, and Las Lunas;
·4· · · · · · You mentioned "ATN" being an abbreviation for     ·4· ·right?
·5· ·Altoona?                                                   ·5· · · ·A.· ·Thank you very much.
·6· · · ·A.· ·Yes.                                              ·6· · · ·Q.· ·Those were the three data centers that hosted
·7· · · ·Q.· ·That's one of the chatd servers; correct?         ·7· ·or that housed chatd servers?
·8· · · ·A.· ·That's one of the data centers.                   ·8· · · · · · MR. BLOCK:· Objection to form.· Foundation.
·9· · · ·Q.· ·And what are the other data centers?              ·9· · · · · · THE WITNESS:· At that time, I remember that
10· · · ·A.· ·Around that time, I think that we were            10· 2018 -- 2019 -- beginning of 2019, I remember that we
11· ·deployed -- the chatd was deployed in ATN and also FRC.    11· were -- that we had presence in ATN and FRC.· And I
12· ·And also, at that time, we were starting to ramp up in a   12· remember that we were starting to ramp up or having
13· ·new data center -- in a different data center called --    13· present in VLL.· I don't know if we were starting traffic
14· ·that we call "VLL."                                        14· in VLL.
15· · · ·Q.· ·And FRC, does that stand for anything in          15· BY MR. AKROTIRIANAKIS:
16· ·particular?                                                16· · · ·Q.· ·Do you know where Las Lunas is?
17· · · ·A.· ·Yes, I'm trying to recall.· Perhaps I will say    17· · · ·A.· ·I could guess, but I could guess wrong.
18· ·something wrong.                                           18· · · ·Q.· ·Okay.· Go ahead and guess.
19· · · · · · MR. BLOCK:· And I'll object on foundation to      19· · · ·A.· ·New Mexico, perhaps.
20· this line of questions.                                     20· · · · · · MR. BLOCK:· Objection to form.
21· BY MR. AKROTIRIANAKIS:                                      21· BY MR. AKROTIRIANAKIS:
22· · · ·Q.· ·Do you remember what "VLL" stood for?             22· · · ·Q.· ·And where is Forest City?· North Carolina?
23· · · ·A.· ·Yes.· Something Las Lunas.· And perhaps FCC was   23· · · ·A.· ·Perhaps.· Rings a bell, but I may be wrong.
24· ·some Foster City [sic].                                    24· · · ·Q.· ·Do you recall where Altoona is?
25· · · ·Q.· ·Forest City?                                      25· · · ·A.· ·No, I do not.· Sorry.



                                                Swivel Legal Solutions
                                         800.540.9099· |· www.swivellegal.com                                                   YVer1f
       Case 4:19-cv-07123-PJH               Document 422-2            Filed 10/11/24         Page 35 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                             Job 3326
JESUS PALAU on 09-13-2024                 {{Attorneys Eyes Only}}                                              Pages· 94..97    YVer1f




                                                      Page 94                                                         Page 95
·1· · · ·Q.· ·Okay.                                             ·1· · · · · · THE WITNESS:· I think that "enforcing" word
·2· · · · · · (Reporter requests a break.)                      ·2· would be a synonym of it.
·3· · · · · · MR. AKROTIRIANAKIS:· We can take a break.         ·3· BY MR. AKROTIRIANAKIS:
·4· · · · · · THE VIDEOGRAPHER:· All right.· The time is        ·4· · · ·Q.· ·Can you go back to page 3 of Exhibit 1105?
·5· 11:24 a.m.· We are off the record.                          ·5· · · ·A.· ·I'm there.
·6· · · · · · (Break taken.)                                    ·6· · · ·Q.· ·Mr. Ebeling, in his message in the second
·7· · · · · · THE VIDEOGRAPHER:· All right.· The time is        ·7· ·paragraph, writes:· "It'd be a lot cleaner/safer to have
·8· 11:40 a.m.· We are back on the record.                      ·8· ·the server enforce proper schema for all messages and
·9· BY MR. AKROTIRIANAKIS:                                      ·9· ·make sure clients don't send server-only messages, et
10· · · ·Q.· ·All right.· Mr. Barcons, you understand that      10· ·cetera."· Do you see that?
11· ·you remain under oath; correct?                            11· · · ·A.· ·I do.
12· · · ·A.· ·Yes, I do.                                        12· · · ·Q.· ·Okay.· And the part of this about a
13· · · ·Q.· ·All right.· After you wrote:· "Currently          13· ·"server-only message," what does that mean?
14· ·chatd555.atn is validating relaylatency stanza," you       14· · · · · · MR. BLOCK:· Object to form and to the partial
15· ·wrote:· "No actions are taken, just bumping counters."     15· reading.
16· ·And then you have a Facebook URL.· Do you see that?        16· BY MR. AKROTIRIANAKIS:
17· · · ·A.· ·I do.                                             17· · · ·Q.· ·Do you have any understanding of the term
18· · · ·Q.· ·And what does it mean to say "No actions are      18· ·"server-only messages," Mr. Barcons?
19· ·taken, just bumping counters."                             19· · · ·A.· ·There are some stanzas that are supposed to be
20· · · ·A.· ·I mean that no drastic actions are taken,         20· ·only server initiated.· And we wanted to make sure that
21· ·meaning that even if a stanza is not valid, according to   21· ·clients, especially fake, unofficial clients, would not
22· ·the spec, we are not going to drop it.                     22· ·send those server-only generated stanzas.· Our official
23· · · ·Q.· ·Okay.· Is that something that's referred to as    23· ·clients can never do that.
24· ·"enforcing"?                                               24· · · · · · MR. BLOCK:· I think it was "unofficial," for
25· · · · · · MR. BLOCK:· Objection to form.                    25· ·the transcript.

                                                      Page 96                                                         Page 97
·1· · · · · · MR. AKROTIRIANAKIS:· "Fake, unofficial."          ·1· · · ·Q.· ·"Readable form for engineers," -- something --
·2· BY MR. AKROTIRIANAKIS:                                      ·2· ·"Erlang to understand," -- "form"?
·3· · · ·Q.· ·All right.· Returning you to page 5 of Exhibit    ·3· · · · · · MR. BLOCK:· "Familiar."
·4· ·1105.· Mr. Ebeling writes to you at the bottom of the      ·4· BY MR. AKROTIRIANAKIS:
·5· ·page:· "One thought we had when discussing this with       ·5· · · ·Q.· ·"Familiar with Erlang."
·6· ·Ibrahim was the fact that the schema is in Erlang.· May    ·6· · · · · · All right.· So you were in favor of Erlang, and
·7· ·make it harder to understand for folks not familiar with   ·7· ·Otto and Ebeling and Ibrahim Mohamed were wondering
·8· ·Erlang."· Do you see that?                                 ·8· ·whether it was better to consider a different computer
·9· · · ·A.· ·I see that.                                       ·9· ·language; is that right?
10· · · ·Q.· ·"And some other schema configuration format       10· · · · · · MR. BLOCK:· Objection to form.
11· ·could be easier to understand.· What are you are           11· · · · · · THE WITNESS:· I think that Otto wanted me to
12· ·thoughts on that"; right?                                  12· make sure that I considered this; and I did consider it.
13· · · ·A.· ·I read that.                                      13· BY MR. AKROTIRIANAKIS:
14· · · ·Q.· ·Ultimately -- well, do you recall what your       14· · · ·Q.· ·Can you turn over to the top of page 6.
15· ·thoughts were, if you had any?                             15· · · ·A.· ·I'm there.
16· · · ·A.· ·Yes, beauty is in the eye of the beholder.        16· · · ·Q.· ·What language ultimately did you go with?
17· ·Otto and Ibrahim, Erlang is not their programming          17· · · ·A.· ·Erlang.
18· ·language of choice.· On the other hand, I think that       18· · · ·Q.· ·And what is the code that we see here at top of
19· ·Erlang provides -- with Erlang, we can provide very        19· ·page 6 with your entry?
20· ·concise and readable --                                    20· · · ·A.· ·That would be an Erlang term.
21· · · · · · (Reporter clarification due to accent.)           21· · · ·Q.· ·And what is it specifically?
22· · · · · · THE WITNESS:· -- form for engineers programmers   22· · · ·A.· ·As I said earlier, beauty is in the eye of the
23· ·familiar with Erlang to understand whatever the schema     23· ·beholder.· So what this really means is this is defining
24· ·that we are validating.                                    24· ·a schema for an element which name is the hash,
25· BY MR. AKROTIRIANAKIS:                                      25· ·"relaylatency," which has the following --



                                                Swivel Legal Solutions
                                         800.540.9099· |· www.swivellegal.com                                                   YVer1f
       Case 4:19-cv-07123-PJH               Document 422-2            Filed 10/11/24            Page 36 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                            Job 3326
JESUS PALAU on 09-13-2024                 {{Attorneys Eyes Only}}                                           Pages· 214..217        YVer1f




                                                     Page 214                                                           Page 215
·1· would indicate the receiver.· You can use "victim" or       ·1· U.S., so we know that they cannot be real clients -- real
·2· "target" as a synonym.                                      ·2· users using those numbers.· So those ones we filtered ut,
·3· BY MR. AKROTIRIANAKIS:                                      ·3· the 555 numbers, we filtered out.
·4· · · ·Q.· ·All right.· How many targets did you ultimately   ·4· · · · · · We also filtered out -- Yuanyuan pointed out we
·5· ·determine that there were?                                 ·5· could look at the IP of the sender, and if there was a
·6· · · ·A.· ·I don't remember.                                 ·6· receiver account with the same IP, very likely it was the
·7· · · ·Q.· ·Can you remember even an approximation?           ·7· phone number that the attacker was using to test or
·8· · · ·A.· ·In the hundreds, perhaps.                         ·8· develop something, so we have to also remove those ones
·9· · · ·Q.· ·Do you remember how it was that you went from     ·9· from the list of victims/targets.
10· ·everybody who received a stanza to some other smaller      10· · · · · · I can think of those two.
11· ·subset of that that you identified as targets?             11· BY MR. AKROTIRIANAKIS:
12· · · · · · MR. BLOCK:· Objection to form.                    12· · · ·Q.· ·Can you think of any other categories that were
13· · · · · · THE WITNESS:· From that list of targets, we had   13· ·removed from the list of numbers that you started with?
14· to remove some phone numbers, some accounts that we         14· · · ·A.· ·Only this comes to mind.
15· believe were not victims.· Some of them will be WhatsApp    15· · · · · · MR. AKROTIRIANAKIS:· Okay.· I don't think I
16· engineers internally trying to figure out what happened     16· ·have any other questions for you.
17· when the receiver receives that stanza.                     17· · · · · · MR. BLOCK:· No questions.
18· · · · · · If you remember previously, Yuanyuan was          18· · · · · · THE VIDEOGRAPHER:· Will counsel please state
19· changing the client code to send that malicious payload     19· their transcript and video orders for the record.
20· in the stanza to try to figure out what could happen on     20· · · · · · MR. BLOCK:· I won't be able to, but you could
21· the receiving side.· So we had to exclude those phone       21· follow up with my team.
22· numbers.                                                    22· · · · · · MR. AKROTIRIANAKIS:· I'm in the same position.
23· · · · · · Those phone numbers, by the way, are going to     23· My assistant, Nina, can let you know.
24· be the ones that have "555" in between of them.· Those      24· · · · · · THE VIDEOGRAPHER:· This ends Volume 1 of the
25· are numbers never located by telecom companies in the       25· video deposition of Jesus Barcons Palau.· The time is

                                                     Page 216                                                           Page 217
·1· 4:22 p.m.· We are off the record.                           ·1· STATE OF CALIFORNIA· · ·)
·2· · · · · · (4:22 p.m., deposition concluded.)                · · · · · · · · · · · · · · ) ss:
·3· · · · · · · · · · · ·--oOo--                                ·2· COUNTY OF ALAMEDA· · · ·)

·4                                                              ·3
                                                                · · · · · · · I, KIMBERLY E. D'URSO, do hereby certify:
·5
                                                                ·4
·6
                                                                ·5· · · · · · That the witness named in the foregoing
·7
                                                                ·6· deposition was present and duly sworn to testify to the
·8
                                                                ·7· truth in the within-entitled action on the day and date
·9
                                                                ·8· and at the time and place therein specified;
10                                                              ·9· · · · · · That the testimony of said witness was reported
11                                                              10· by me in shorthand and was thereafter transcribed through
12                                                              11· computer-aided transcription;
13                                                              12· · · · · · That the foregoing constitutes a full, true and
14                                                              13· correct transcript of said deposition and of the
15                                                              14· proceedings which took place;

16                                                              15· · · · · · Further, that if the foregoing pertains to the

17                                                              16· original transcript of a deposition in a federal case,
                                                                17· before completion of the proceedings, review of the
18
                                                                18· transcript [ ] was [ ] was not requested.
19
                                                                19· · · · · · That I am a certified stenographic reporter and
20
                                                                20· a disinterested person to the said action;
21
                                                                21· · · · · · IN WITNESS WHEREOF, I have hereunder subscribed
22
                                                                22· my hand this 15th day of September, 2024.
23                                                              23· _____________________________________________________
24                                                              24· KIMBERLY D'URSO, CSR NO. 11372, RPR
25                                                              25




                                                Swivel Legal Solutions
                                         800.540.9099· |· www.swivellegal.com
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 37 of 113




                EXHIBIT 5
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 38 of 113




                EXHIBIT 6
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 39 of 113




                EXHIBIT 7
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 40 of 113




                EXHIBIT 8
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 41 of 113




                EXHIBIT 9
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 42 of 113




              EXHIBIT 10
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 43 of 113




              EXHIBIT 11
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 44 of 113




              EXHIBIT 12
             FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 45 of 113




              EXHIBIT 13
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 46 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 47 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 48 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 49 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 50 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 51 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 52 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 53 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 54 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 55 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 56 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 57 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 58 of 113




              EXHIBIT 14
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 59 of 113

  WhatsApp Terms Of Service


  WhatsApp Inc. ("WhatsApp," "our," "we," or "us") provides messaging, Internet calling, and other services to
  users around the world. Please read our Terms of Service so you understand what's up with your use of
  WhatsApp. You agree to our Terms of Service ("Terms") by installing, accessing, or using our apps, services,
  features, software, or website (together, "Services").

  NO ACCESS TO EMERGENCY SERVICES: There are important differences between WhatsApp and your
  mobile and fixed-line telephone and SMS services. Our Services do not provide access to emergency
  services or emergency services providers, including the police, fire departments, or hospitals, or otherwise
  connect to public safety answering points. You should ensure you can contact your relevant emergency
  services providers through a mobile, fixed-line telephone, or other service.

  IF YOU ARE A WHATSAPP USER LOCATED IN THE UNITED STATES OR CANADA, OUR TERMS CONTAIN A
  BINDING ARBITRATION PROVISION, WHICH STATES THAT, EXCEP T IF YOU OP T OUT AND EXCEPT FOR
  CERTAIN TYPES OF DISPUTES, WHATSAPP AND YOU AGREE TO RESOLVE ALL DISPUTES THROUGH
  BINDING INDIVIDUAL ARBITRATION, WHICH MEANS THAT YOU WAIVE ANY RIGHT TO HAVE THOSE
  DISPUTES DECIDED BY A JUDGE OR JURY, AND THAT YOU WAIVE YOUR RIGHT TO PARTICIPATE IN CLASS
  ACTIONS, CLASS ARBITRATIONS, OR REPRESENTATIVE ACTIONS. PLEASE READ THE "SPECIAL
  ARBITRATION PROVISION FOR UNITED STATES OR C ANADA USERS" SECTION BELOW TO LEARN MORE.




  Registration. You must register for our Services using accurate data, provide your current mobile phone
  number, and, if you change it, update this mobile phone number using our in-app change number feature.
  You agree to receive text messages and phone calls (from us or our third-party providers) with codes to
  register for our Services.

  Address Book. You provide us the phone numbers of WhatsApp users and your other contacts in your
  mobile phone address book on a regular basis. You confirm you are authorized to provide us such numbers
  to allow us to provide our Services.

  Age. You must be at least 13 years old to use our Services (or such greater age required in your country for
  you to be authorized to use our Services without parental approval). In addition to being of the minimum
  required age to use our Services under applicable law, if you are not old enough to have authority to agree to
  our Terms in your country, your parent or guardian must agree to our Terms on your behalf.

  Devices and Software. You must provide certain devices, software, and data connections to use our Services,
  which we otherwise do not supply. For as long as you use our Services, you consent to downloading and
  installing updates to our Services, including automatically.

ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                1/9


                                                                                                      WA-NSO-00195067
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 60 of 113
  Fees and Taxes. You are responsible for all carrier data plan and other fees and taxes associated with your use
  of our Services. We may charge you for our Services, including applicable taxes. We may refuse or cancel
  orders. We do not provide refunds for our Services, except as required by law.




  WhatsApp cares about your privacy. WhatsApp's                          describes our information (including message)
  practices, including the types of information we receive and collect from you and how we use and share this
  information. You agree to our data practices, including the collection, use, processing, and sharing of your
  information as described in our Privacy Policy, as well as the transfer and processing of your information to
  the United States and other countries globally where we have or use facilities, service providers, or partners,
  regardless of where you use our Services. You acknowledge that the laws, regulations, and standards of the
  country in which your information is stored or processed may be different from those of your own country.




  Our Terms and Policies. You must use our Services according to our Terms and posted policies. If we disable
  your account for a violation of our Terms, you will not create another account without our permission.

  legal and Acceptable Use. You must access and use our Services only for legal, authorized, and acceptable
  purposes. You will not use (or assist others in using) our Services in ways that: (a) violate, misappropriate, or
  infringe the rights of WhatsApp, our users, or others, including privacy, publicity, intellectual property, or
  other proprietary rights; (b) are illegal, obscene, defamatory, threatening, intimidating, harassing, hateful,
  racially, or ethnically offensive, or instigate or encourage conduct that would be illegal, or otherwise
  inappropriate, including promoting violent crimes; (c) involve publishing falsehoods, misrepresentations, or
  misleading statements; (d) impersonate someone; (e) involve sending illegal or impermissible
  communications such as bulk messaging, auto-messaging, auto-dialing, and the like; or (f) involve any non­
  personal use of our Services unless otherwise authorized by us.

  Harm to WhatsApp or Our Users. You must not (or assist others to) access, use, copy, adapt, modify, prepare
  derivative works based upon, distribute, license, sublicense, transfer, display, perform, or otherwise exploit
  our Services in impermissible or unauthorized manners, or in ways that burden, impair, or harm us, our
  Services, systems, our users, or others, including that you must not directly or through automated means: (a)
  reverse engineer, alter, modify, create derivative works from, decompile, or extract code from our Services; (b)
  send, store, or transmit viruses or other harmful computer code through or onto our Services; {c) gain or
  attempt to gain unauthorized access to our Services or systems; (d) interfere with or disrupt the integrity or
  performance of our Services; (e) create accounts for our Services through unauthorized or automated means;
  (f) collect the information of or about our users in any impermissible or unauthorized manner; (g) sell, resell,
  rent, or charge for our Services; or (h) distribute or make our Services available over a network where they
  could be used by multiple devices at the same time.

  Keeping Your Account Secure. You are responsible for keeping your device and your WhatsApp account safe
  and secure, and you must notify us promptly of any unauthorized use or security breach of your account or
ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                     2/9


                                                                                                       WA-NSO-00195068
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 61 of 113
  our Services.




  Our Services may allow you to access, use, or interact with third-party websites, apps, content, and other
  products and services. For example, you may choose to use third-party data backup services (such as iCloud
  or Google Drive) that are integrated with our Services or interact with a share button on a third party's
  website that enables you to send information to your WhatsApp contacts. Please note that when you use
  third-party services, their own terms and privacy policies will govern your use of those services.




  Your Rights. WhatsApp does not claim ownership of the information that you submit for your WhatsApp
  account or through our Services. You must have the necessary rights to such information that you submit for
  your WhatsApp account or through our Services and the right to grant the rights and licenses in our Terms.

  WhatsApp's Rights. We own all copyrights, trademarks, domains, logos, trade dress, trade secrets, patents,
  and other intellectual property rights associated with our Services. You may not use our copyrights,
  trademarks, domains, logos, trade dress, patents, and other intellectual property rights unless you have our
  express permission and except in accordance with our >                       r .. You may use the
  trademarks\/                                              of our affiliated companies only with their permission,
  including as authorized in any published brand guidelines.

  Your License to WhatsApp. In order to operate and provide our Services, you grant WhatsApp a worldwide,
  non-exclusive, royalty-free, sublicensable, and transferable license to use, reproduce, distribute, create
  derivative works of, display, and perform the information (including the content) that you upload, submit,
  store, send, or receive on or through our Services. The rights you grant in this license are for the limited
  purpose of operating and providing our Services (such as to allow us to display your profile picture and
  status message, transmit your messages, store your undelivered messages on our servers for up to 30 days as
  we try to deliver them, and otherwise as described in our Privacy Policy).

  WhatsApp's license to You. We grant you a limited, revocable, non-exclusive, non-sublicensable, and non­
  transferable license to use our Services, subject to and in accordance with our Terms. This license is for the
  sole purpose of enabling you to use our Services, in the manner permitted by our Terms. No licenses or rights
  are granted to you by implication or otherwise, except for the licenses and rights expressly granted to you.




  To report claims of third-party copyright, trademark, or other intellectual property infringement, please visit
  our d                            . We may terminate your WhatsApp account if you repeatedly infringe the

  intellectual property rights of others.
ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                     3/9


                                                                                                         WA-NSO-00195069
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 62 of 113



  YOU USE OUR SERVICES AT YOUR OWN RISK AND SUBJECT TO THE FOLLOWING DISCLAIMERS. WE ARE
  PROVIDING OUR SERVICES ON AN "AS IS" BASIS WITHOUT ANY EXPRESS OR IMPLIED WARRANTIES,
  INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR
  PURPOSE, TITLE, NON-INFRINGEMENT, AND FREEDOM FROM COMPUTER VIRUS OR OTHER HARMFUL
  CODE. WE DO NOT WARRANT THAT ANY INFORMATION PROVIDED BY US IS ACCURATE, COMPLETE, OR
  USEFUL, THAT OUR SERVICES WILL BE OPERATIONAL, ERROR FREE, SECURE, OR SAFE, OR THAT OUR
  SERVICES WILL FUNCTION WITHOUT DISRUPTIONS, DELAYS, OR IMPERFECTIONS. WE DO NOT CONTROL,
  AND ARE NOT RESPONSIBLE FOR, CONTROLLING HOW OR WHEN OUR USERS USE OUR SERVICES OR THE
  FEATURES, SERVICES, AND INTERFACES OUR SERVICES PROVIDE. WE ARE NOT RESPONSIBLE FOR AND ARE
  NOT OBLIGATED TO CONTROL THE ACTIONS OR INFORMATION (INCLUDING CONTENT) OF OUR USERS OR
  OTHER THIRD PARTIES. YOU RELEASE US, OUR SUBSIDIARIES, AFFILIATES, AND OUR AND THEIR DIRECTORS,
  OFFICERS, EMPLOYEES, PARTNERS, AND AGENTS (TOGETHER, THE "WHATSAPP PARTIES") FROM ANY CLAIM,
  COMPLAINT, CAUSE OF ACTION, CONTROVERSY, OR DISPUTE (TOGETHER, "CLAIM") AND DAMAGES,
  KNOWN AND UNKNOWN, RELATING TO, ARISING OUT OF, OR IN ANY WAY CONNECTED WITH ANY SUCH
  CLAIM YOU HAVE AGAINST ANY THIRD PARTIES. YOU WAIVE ANY RIGHTS YOU MAY HAVE UNDER
  CALIFORNIA CIVIL CODE §1542, OR ANY OTHER SIMILAR APPLICABLE STATUTE OR LAW OF ANY OTHER
  JURISDICTION, WHICH SAYS THAT: A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
  CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
  RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
  WITH THE DEBTOR.




  THE WHATSAPP PARTIES WILL NOT BE LIABLE TO YOU FOR ANY LOST PROFITS OR CONSEQUENTIAL,
  SPECIAL, PUNITIVE, INDIRECT, OR INCIDENTAL DAMAGES RELATING TO, ARISING OUT OF, OR IN ANY WAY
  IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES, EVEN IF THE WHATSAPP PARTIES HAVE BEEN
  ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. OUR AGGREGATE LIABILITY RELATING TO, ARISING OUT
  OF, OR IN ANY WAY IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES WILL NOT EXCEED THE
  GREATER OF ONE HUNDRED DOLLARS ($100) OR THE AMOUNT YOU HAVE PAID US IN THE PAST TWELVE
  MONTHS. THE FOREGOING DISCLAIMER OF CERTAIN DAMAGES AND LIMITATION OF LIABILITY WILL APPLY
  TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW. THE LAWS OF SOME STATES OR
  JURISDICTIONS MAY NOT ALLOW THE EXCLUSION OR LIMITATION OF CERTAIN DAMAGES, SO SOME OR ALL
  OF THE EXCLUSIONS AND LIMITATIONS SET FORTH ABOVE MAY NOT APPLY TO YOU. NOTWITHSTANDING
  ANYTHING TO THE CONTRARY IN OUR TERMS, IN SUCH CASES, THE LIABILITY OF THE WHATSAPP PARTIES
  WILL BE LIMITED TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW.




  You agree to defend, indemnify, and hold harmless the WhatsApp Parties from and against all liabilities,
  damages, losses, and expenses of any kind (including reasonable legal fees and costs) relating to, arising out

ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                  4/9


                                                                                                      WA-NSO-00195070
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 63 of 113
  of, or in any way in connection with any of the following: (a) your access to or use of our Services, including
  information provided in connection therewith; (b) your breach or alleged breach of our Terms; or (c) any
  misrepresentation made by you. You will cooperate as fully as required by us in the defense or settlement of
  any Claim.




  Forum and Venue. If you are a WhatsApp user located in the United States or Canada, the "Special
  Arbitration Provision for United States or Canada Users" section below applies to you. Please also read that
  section carefully and completely. If you are not subject to the "Special Arbitration Provision for United States
  or Canada Users" section below, you agree that you and WhatsApp will resolve any Claim relating to, arising
  out of, or in any way in connection with our Terms, us, or our Services (each, a "Dispute," and together,
  "Disputes") exclusively in the United States District Court for the Northern District of California or a state
  court located in San Mateo County in California, and you agree to submit to the personal jurisdiction of such
  courts for the purpose of litigating all such Disputes. Without prejudice to the foregoing, you agree that, in
  our sole discretion, we may elect to resolve any Dispute we have with you in any competent court in the
  country in which you reside that has jurisdiction over the Dispute.

  Governing law. The laws of the State of California govern our Terms, as well as any Disputes, whether in
  court or arbitration, which might arise between WhatsApp and you, without regard to conflict of law
  prov1s1ons.




  Availability of Our Services. Our Services may be interrupted, including for maintenance, repairs, upgrades,
  or network or equipment failures. We may discontinue some or all of our Services, including certain features
  and the support for certain devices and platforms, at any time. Events beyond our control may affect our
  Services, such as events in nature and other force majeure events.

  Termination. We may modify, suspend, or terminate your access to or use of our Services anytime for any
  reason, such as if you violate the letter or spirit of our Terms or create harm, risk, or possible legal exposure
  for us, our users, or others. T he following provisions will survive any termination of your relationship with
  WhatsApp: "Licenses," "Disclaimers," "Limitation of Liability," "Indemnification," "Dispute Resolution,"
  "Availability and Termination of our Services," "Other," and "Special Arbitration Provision for United States or
  Canada Users."




     • Unless a mutually executed agreement between you and us states otherwise, our Terms make up
        the entire agreement between you and us regarding WhatsApp and our Services, and supersede
        any prior agreements.


ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                     5/9


                                                                                                      WA-NSO-00195071
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 64 of 113
     • We may ask you to agree to additional terms for certain of our Services in the future, which will
        govern to the extent there is a conflict between our Terms and such additional terms.

     • Our Services are not intended for distribution to or use in any country where such distribution or
        use would violate local law or would subject us to any regulations in another country. We reserve
        the right to limit our Services in any country.

     • You will comply with all applicable U.S. and non-U.S. export control and trade sanctions laws
       ("Export Laws"). You will not, directly or indirectly, export, re-export, provide, or otherwise transfer
        our Services: (a) to any individual, entity, or country prohibited by Export Laws; (b) to anyone on
        U.S. or non-U.S. government restricted parties lists; or (c) for any purpose prohibited by Export
        Laws, including nuclear, chemical, or biological weapons, or missile technology applications
        without the required government authorizations. You will not use or download our Services if you
        are located in a restricted country, if you are currently listed on any U.S. or non-U.S. restricted
        parties list, or for any purpose prohibited by Export Laws, and you will not disguise your location
        through IP proxying or other methods.

     • Our Terms are written in English (U.S.). Any translated version is provided solely for your
       convenience. To the extent any translated version of our Terms conflicts with the English version,
        the English version controls.

     • Any amendment to or waiver of our Terms requires our express consent.

     • We may amend or update these Terms. We will provide you notice of amendments to our Terms,
        as appropriate, and update the "Last Modified" date at the top of our Terms. Your continued use of
        our Services confirms your acceptance of our Terms, as amended. If you do not agree to our
        Terms, as amended, you must stop using our Services. Please review our Terms from time to time.

     • All of our rights and obligations under our Terms are freely assignable by us to any of our affiliates
        or in connection with a merger, acquisition, restructuring, or sale of assets, or by operation of law
        or otherwise, and we may transfer your information to any of our affiliates, successor entities, or
        new owner.

     • You will not transfer any of your rights or obligations under our Terms to anyone else without our
        prior written consent.

     • Nothing in our Terms will prevent us from complying with the law.

     • Except as contemplated herein, our Terms do not give any third-party beneficiary rights.

     • If we fail to enforce any of our Terms, it will not be considered a waiver.

     • If any provision of these Terms is deemed unlawful, void, or for any reason unenforceable, then
       that provision shall be deemed severable from our Terms and shall not affect the validity and
        enforceability of the remaining provisions, except as set forth in the "Special Arbitration Provision
        for United States or Canada Users" - "Severability" section below.

     • We reserve all rights not expressly granted by us to you. In certain jurisdictions, you may have
       legal rights as a consumer, and our Terms are not intended to limit such consumer legal rights that
        may not be waived by contract.

ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                 6/9


                                                                                                       WA-NSO-00195072
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 65 of 113
     • We always appreciate your feedback or other suggestions about WhatsApp and our Services, but
       you understand that we may use your feedback or suggestions without any obligation to
        compensate you for them Uust as you have no obligation to offer them).




  PLEASE READ THIS SECTION CAREFULLY BECAUSE IT CONTAINS ADDITIONAL PROVISIONS APPLICABLE
  ONLY TO OUR UNITED STATES AND CANADA USERS. IF YOU ARE A WHATSAPP USER LOCATED IN THE
  UNITED STATES OR CANADA, IT REQUIRES YOU TO SUBMIT TO BINDING INDIVIDUAL ARBITRATION OF
  ALL DISPUTES, EXCEPT FOR THOSE THAT INVOLVE INTELLECTUAL PROPERTY DISPUTES AND EXCEPT
  THOSE THAT CAN BE BROUGHT IN SMALL CLAIMS COURT. THIS MEANS YOU ARE WAIVING YOUR RIGHT
  TO HAVE SUCH DISPUTES RESOLVED IN COURT BY A JUDGE OR JURY. THIS SECTION ALSO LIMITS THE
  TIME YOU HAVE TO START AN ARBITRATION OR, IF PERMISSIBLE, A COURT ACTION. FINALLY, THIS
  SECTION WAIVES YOUR RIGHT TO HAVE YOUR DISPUTE HEARD AND RESOLVED AS A CLASS ACTION,
  CLASS ARBITRATION, OR A REPRESENTATIVE ACTION.

  "Excluded Dispute" means any Dispute relating to the enforcement or infringement of your or our intellectual
  property rights (such as copyrights, trademarks, domains, logos, trade dress, trade secrets, and patents). For
  clarity and notwithstanding the foregoing, those Disputes relating to, arising out of, or in any way in
  connection with your rights of privacy and publicity are not Excluded Disputes.

  Federal Arbitration Act. The United States Federal Arbitration Act governs the interpretation and
  enforcement of this "Special Arbitration Provision for United States or Canada Users" section, including any
  question whether a Dispute between WhatsApp and you is subject to arbitration.

  Agreement to Arbitrate for WhatsApp Users Located in the United States or Canada. For WhatsApp users
  located in the United States or Canada, WhatsApp and you each agree to waive the right to a trial by judge or
  jury for all Disputes, except for the Excluded Disputes. WhatsApp and you agree that all Disputes (except for
  the Excluded Disputes), including those relating to, arising out of, or in any way in connection with your rights
  of privacy and publicity, will be resolved through final and binding arbitration. WhatsApp and you agree not
  to combine a Dispute that is subject to arbitration under our Terms with a Dispute that is not eligible for
  arbitration under our Terms.

  The arbitration will be administered by the American Arbitration Association (AAA) under its Commercial
  Arbitration Rules in effect at the time the arbitration is started, including the Optional Rules for Emergency
  Measures of Protection and the Supplementary Procedures for Consumer-Related Disputes (together, the
  "AAA Rules"). The arbitration will be presided over by a single arbitrator selected in accordance with the AAA
  Rules. The AAA Rules, information regarding initiating a Dispute, and a description of the arbitration process
  are available at\\ < ·      The arbitrator will decide whether a Dispute can be arbitrated. The location of
  the arbitration and the allocation of fees and costs for such arbitration shall be determined in accordance
  with the AAA Rules. Notwithstanding the AAA Rules, we will reimburse you for all the AAA administrative fees
  in Disputes that are subject to the Supplementary Procedures for Consumer-Related Disputes, unless the
  arbitrator determines that a Dispute was filed for purposes of harassment or is patently frivolous.

ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                  7/9


                                                                                                      WA-NSO-00195073
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 66 of 113
  Opt-Out Procedure. You may opt out of this agreement to arbitrate. If you do so, neither we nor you can
  require the other to participate in an arbitration proceeding. To opt out, you must notify us in writing
  postmarked within 30 days of the later of: (i) the date that you first accepted our Terms; and (ii) the date you
  became subject to this arbitration provision. You must use this address to opt-out:

  WhatsApp Inc.
  Arbitration Opt-Out
  1601 Willow Road
  Menlo Park, California 94025
  United States of America

  You must include: (1) your name and residence address; (2) the mobile phone number associated with your
  account; and (3) a clear statement that you want to opt out of our Terms' agreement to arbitrate.

  Small Claims Court As an alternative to arbitration, if permitted by your local "small claims" court's rules, you
  may bring your Dispute in your local "small claims" court, as long as the matter advances on an individual
  (non-class) basis.

  Time Limit to Start Arbitration. We and you agree that for any Dispute (except for the Excluded Disputes) we
  and you must commence an arbitration proceeding within one year after the Dispute first arose; otherwise,
  such Dispute is permanently barred. This means that if we or you do not commence an arbitration within one
  year after the Dispute first arose, then the arbitration will be dismissed because it was started too late.

  No Class Actions, Class Arbitrations, or Representative Actions for Users located in the United States or
  Canada. We and you each agree that if you are a WhatsApp user located in the United States or Canada, each
  of we and you may bring Disputes against the other only on its or your own behalf, and not on behalf of any
  other person or entity, or any class of people. We and you each agree not to participate in a class action, a
  class-wide arbitration, Disputes brought in a private attorney general or representative capacity, or
  consolidated Disputes involving any other person or entity in connection with any Dispute.

  Severability. If the prohibition against class actions and other Disputes brought on behalf of third parties is
  found to be unenforceable for a Dispute, then all of the provisions above under the caption "Special
  Arbitration Provision for United States or Canada Users" will be null and void as to that Dispute.

  Place to File Permitted Court Actions. If you opt out of the agreement to arbitrate, if your Dispute is an
  Excluded Dispute, or if the arbitration agreement is found to be unenforceable, you agree to be subject to
  the "Forum and Venue" provisions in the "Dispute Resolution" section set forth above.


  Accessing WhatsApp's terms ln different languages

  To access our Terms in certain other languages, change the language setting for your WhatsApp session. If
  our Terms are not available in the language you select, we will default to the English version.

  Please review the following documents, which provide additional information about your use of our Services:

ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                    8/9


                                                                                                      WA-NSO-00195074
4/14/2020        Case 4:19-cv-07123-PJH             Document 422-2     Filed
                                                             WhalsApp Legal Info 10/11/24   Page 67 of 113




ht tps://www.whalsapp.com/legal/#lerms-of-service                                                                9/9


                                                                                                      WA-NSO-00195075
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 68 of 113




              EXHIBIT 15
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 69 of 113




              EXHIBIT 16
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 70 of 113




              EXHIBIT 17
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 71 of 113




              EXHIBIT 18
       Case 4:19-cv-07123-PJH          Document 422-2    Filed 10/11/24   Page 72 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                     Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                                   Page 1
       Case 4:19-cv-07123-PJH          Document 422-2        Filed 10/11/24   Page 73 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                         Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                              Pages· 230..233




                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                  YVer1f
       Case 4:19-cv-07123-PJH          Document 422-2        Filed 10/11/24   Page 74 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                         Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                              Pages· 234..237




                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                  YVer1f
       Case 4:19-cv-07123-PJH          Document 422-2        Filed 10/11/24   Page 75 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                         Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                              Pages· 286..289




                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                  YVer1f
       Case 4:19-cv-07123-PJH          Document 422-2        Filed 10/11/24   Page 76 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                         Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                              Pages· 290..293




                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                  YVer1f
       Case 4:19-cv-07123-PJH          Document 422-2        Filed 10/11/24   Page 77 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                         Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                              Pages· 294..297




                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                  YVer1f
       Case 4:19-cv-07123-PJH          Document 422-2        Filed 10/11/24   Page 78 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                         Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                              Pages· 334..337




                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                  YVer1f
       Case 4:19-cv-07123-PJH          Document 422-2        Filed 10/11/24   Page 79 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                         Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                              Pages· 338..341




                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                  YVer1f
       Case 4:19-cv-07123-PJH                 Document 422-2            Filed 10/11/24        Page 80 of 113
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                          Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                                               Pages· 386..389
                                                       Page 386                                                           Page 387
·1· · · · · · · ·ACKNOWLEDGMENT OF DEPONENT                       ·1· · · · · · CERTIFICATE OF SHORTHAND REPORTER
·2· · · · · · · · · I, ANDREW ROBINSON, do hereby                 ·2· · · · · · · · · I, Cassandra E. Ellis, Registered
·3· · ·acknowledge that I have read and examined the              ·3· · ·Professional Reporter, the officer before whom
·4· · ·foregoing testimony, and the same is a true,               ·4· · ·the foregoing proceedings were taken, do hereby
·5· · ·correct and complete transcription of the                  ·5· · ·certify that the foregoing transcript is a true
·6· · ·testimony given by me and any corrections appear           ·6· · ·and correct record of the proceedings; that said
·7· · ·on the attached Errata sheet signed by me.                 ·7· · ·proceedings were taken by me stenographically
·8                                                                ·8· · ·and thereafter reduced to typewriting under my
·9· ·____________________· · · · · ____________________           ·9· · ·supervision; and that I am neither counsel for,
10· · · · (DATE)· · · · · · · · · · · (SIGNATURE)                 10· · ·related to, nor employed by any of the parties
11                                                                11· · ·to this case and have no interest, financial or
12                                                                12· · ·otherwise, in its outcome.
13                                                                13· · · · · · · · · IN WITNESS WHEREOF, I have hereunto
14                                                                14· · ·set my hand this 23RD day of September 2024.
15                                                                15
16                                                                16
17                                                                17
18                                                                18· ·____________________________________________
19                                                                19· ·CASSANDRA E. ELLIS, CSR-CA #14448, CCR-WA #3484,
20                                                                20· · · · · · · · · · · ·CSR-HI #475, RPR, RMR, RDR,
21                                                                21· · · · · · · · · · · ·CRR, REALTIME SYSTEMS
22                                                                22· · · · · · · · · · · ·ADMINISTRATOR #823848
23                                                                23
24                                                                24
25                                                                25

                                                       Page 388                                                           Page 389
·1· · · · · · · · E R R A T A· · S H E E T                        ·1· · · ·E R R A T A· ·S H E E T· ·C O N T I N U E D
·2· · · · IN RE:· WHATSAPP/FACEBOOK, v. NSO GROUP/Q               ·2· · · ·IN RE:· WHATSAPP/FACEBOOK, v. NSO GROUP/Q
·3· ·CYBER                                                        ·3· ·CYBER
·4· ·RETURN BY: _________________________________                 ·4· ·RETURN BY:· ________________________________
·5· ·PAGE· · LINE· · ·CORRECTION AND REASON                       ·5· ·PAGE· · LINE· · ·CORRECTION AND REASON
·6· ·____· · ____· · ·___________________________                 ·6· ·____· · ____· · ·___________________________
·7· ·____· · ____· · ·___________________________                 ·7· ·____· · ____· · ·___________________________
·8· ·____· · ____· · ·___________________________                 ·8· ·____· · ____· · ·___________________________
·9· ·____· · ____· · ·___________________________                 ·9· ·____· · ____· · ·___________________________
10· ·____· · ____· · ·___________________________                 10· ·____· · ____· · ·___________________________
11· ·____· · ____· · ·___________________________                 11· ·____· · ____· · ·___________________________
12· ·____· · ____· · ·___________________________                 12· ·____· · ____· · ·___________________________
13· ·____· · ____· · ·___________________________                 13· ·____· · ____· · ·___________________________
14· ·____· · ____· · ·___________________________                 14· ·____· · ____· · ·___________________________
15· ·____· · ____· · ·___________________________                 15· ·____· · ____· · ·___________________________
16· ·____· · ____· · ·___________________________                 16· ·____· · ____· · ·___________________________
17· ·____· · ____· · ·___________________________                 17· ·____· · ____· · ·___________________________
18· ·____· · ____· · ·___________________________                 18· ·____· · ____· · ·___________________________
19· ·____· · ____· · ·___________________________                 19· ·____· · ____· · ·___________________________
20· ·____· · ____· · ·___________________________                 20· ·____· · ____· · ·___________________________
21· ·____· · ____· · ·___________________________                 21· ·____· · ____· · ·___________________________
22· ·____· · ____· · ·___________________________                 22· ·____· · ____· · ·___________________________
23                                                                23
24· ·______________· ·___________________________                 24· ·_______________· ___________________________
25· · · ·(DATE)· · · · · · · · · ·(SIGNATURE)                     25· · · ·(DATE)· · · · · · · · · (SIGNATURE)




                                                Swivel Legal Solutions
                                         800.540.9099· |· www.swivellegal.com
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 81 of 113




              EXHIBIT 19
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 82 of 113




              EXHIBIT 20
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 83 of 113




              EXHIBIT 21
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 84 of 113




              EXHIBIT 22
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 85 of 113




              EXHIBIT 23
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 86 of 113




              EXHIBIT 24
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 87 of 113




              EXHIBIT 25
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 88 of 113




              EXHIBIT 26
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 89 of 113




              EXHIBIT 27
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 90 of 113




              EXHIBIT 28
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 91 of 113




              EXHIBIT 29
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 92 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 93 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 94 of 113
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 95 of 113




              EXHIBIT 30
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 96 of 113




              EXHIBIT 31
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 97 of 113




              EXHIBIT 32
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 98 of 113




              EXHIBIT 33
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 99 of 113




              EXHIBIT 34
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 100 of 113




               EXHIBIT 35
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 101 of 113




               EXHIBIT 36
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 102 of 113




               EXHIBIT 37
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 103 of 113




               EXHIBIT 38
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 104 of 113




               EXHIBIT 39
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 105 of 113




               EXHIBIT 40
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 106 of 113




               EXHIBIT 41
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 107 of 113




               EXHIBIT 42
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 108 of 113




               EXHIBIT 43
Case 4:19-cv-07123-PJH   Document 422-2   Filed 10/11/24   Page 109 of 113




               EXHIBIT 44
Case 4:19-cv-07123-PJH       Document 422-2         Filed 10/11/24     Page 110 of 113
                                                                                               1




        HEARING ON ANNUAL WORLDWIDE THREATS

        Tuesday, March 8, 2022

        U.S. House of Representatives,

        Permanent Select Committee on Intelligence,

        Washington, D.C.




               The committee met, pursuant to call, at 10:03 a.m., in Room 2175, Rayburn House

        Office Building, the Honorable Adam Schiff (chairman of the committee) presiding.

               Present:    Representatives Schiff, Himes, Carson, Speier, Quigley, Swalwell,

        Castro, Maloney, Demings, Krishnamoorthi, Cooper, Crow, Turner, Wenstrup, Stewart,

        Crawford, Stefanik, Mullin, Kelly of Mississippi, LaHood, Fitzpatrick, and

        Gallagher.
Case 4:19-cv-07123-PJH        Document 422-2            Filed 10/11/24     Page 111 of 113
                                                                                                       36




        RPTR WARREN

        EDTR ZAMORA

        [11:03 a.m.]

               Mr. Stewart.     And for the benefit of the American people as well, there are some

        other, as I said, other issues that I think we should talk about, although briefly, then I

        want to reserve as much of my time as I can to come back to Ukraine.

               Director Haines, and really all of you, in the last year, we went through this thing

        that made several of us on the committee very uncomfortable, in the sense that there

        was a DHS and FBI mandate to report on domestic violent extremists or extremism.

               Director, that mandated that you or you chose to at that point on March 21 to

        release a standalone report, which is something quite unusual, for us to take an issue, a

        single issue like that, with a standalone report from the DNI, talking again about domestic

        violent extremism.    And there is obviously a lot of work, a lot of intense analysis which,

        again, the reason that I am concerned about is that, as I have expressed to, I think, all of

        you, is the sense we should never turn the awesome power of the CIA or the awesome

        power of the NSA on American persons.           And I believe that you all agree with that, and it

        seems like we are approaching that line.

               Interestingly, in this most recent report, do you know how many times DVEs are

        mentioned?     Zero, not a single time, which begs the question, I mean, there is a couple

        perhaps explanations.     One of them is that we fixed the problem, which seems unlikely.

        I have never seen an example where one report highlights something as this is a intense

        area of issue for us, the next year it is not mentioned at all.    I am afraid that the work

        last year was a result of political pressure.

               And I wonder if anyone of you would like to perhaps offer an explanation for why

        it was so important a year ago and yet doesn't make into it the report at all in this most
Case 4:19-cv-07123-PJH            Document 422-2         Filed 10/11/24        Page 112 of 113
                                                                                                          37




        recent.

                   Director Haines.     Sure.   I can start.    So it is mentioned; it is just under a

        separate name.         You will see we talk about racially or ethnically motivated violent

        extremism, and that is a form of, in many respects, domestic violent extremism.

        Obviously, it can occur in other places, but it also occurs domestically, and it does remain

        a problem.       But I will turn to Director Wray to talk about how much of a problem.

                   Mr. Wray.      Well, from the FBI perspective, domestic violent extremism, of

        course, is central to our mission, separate and apart from authorities that others in the

        Intelligence Community might have.           And we are aggressively pursuing it.       And it

        remains a very significant, high priority.

                   Mr. Stewart.     And, Director, I agree with that, that you should, as the Director of

        the FBI, have that responsibility.       What made us uncomfortable was we were doing it

        within the framework of many assets and the efforts of those within the Intelligence

        Community which, once again, we should have a very clear line between those two

        efforts.

                   If I could in the minute I have left, Director, according to some open source

        reporting, the FBI purchased NSO spyware Pegasus in 2019 and evaluated the program

        under a name called Phantom.            Can you confirm that, you know, if that is true or not?

                   Mr. Wray.      What I can tell you is that the FBI has not and did not use the NSO

        products operationally in any investigation.           I can confirm that we bought a limited

        license for testing and evaluation, so not used in any investigation of anyone but rather as

        part of our routine responsibilities to evaluate technologies that are out there, not just

        from a perspective of could they be used someday legally but also, more importantly,

        what are the security concerns raised by those products.             So very different from using it

        to investigating it.
Case 4:19-cv-07123-PJH           Document 422-2          Filed 10/11/24        Page 113 of 113
                                                                                                            38




                  Mr. Stewart.     So I understand that you did purchase a program and you tested it.

        Is that accurate?

                  Mr. Wray.      We had a limited license for testing and evaluation.      We have tested

        and evaluated, and that is over.

                  Mr. Stewart.     Did you --

                  Mr.   Wray.      It hasn't been used in any investigation of anyone.

                  Mr. Stewart.     Did the FBI ever notify Congress of their intention to test this

        product?

                  Mr. Wray.      That, I don't know the answer to.     I can look into that.   I am not

        sure --

                  Mr. Stewart.     Please do because we are unaware of any notification.

                  And then, why would we test a product such as that if you don't have the

        intention to use it?

                  Mr. Wray.      Well, we test -- it is a good question.     I am glad you asked me.    We

        test and evaluate all sorts of technologies and products that, if in the wrong hands, can be

        used against our agents, for example, conducting their operations.            So part of it is, from

        a counterintelligence security perspective, we need to know what tools are out there that

        the bad guys can use against our people.         So that is part of why we test it.    And by the

        way, because that allows us to inform our own countermeasures and things like that.

                  Mr. Stewart.     Okay.    And my time is expired.        But are you saying then that you

        would never intend to use that against U.S. persons, only for counterintelligence?             Is

        that true?

                  Mr. Wray.      We decided not to use it -- even before the current and brouhaha, we

        decided not to use it for any purpose other than just the one I have already referred to.

                  Mr. Stewart.     Okay.    Thank you.    I appreciate your response.
